            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 1 of 56




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8
                                  UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
10

11   FEDERAL TRADE COMMISSION,
12                 Plaintiff,
            v.
13                                                     Case No. 3:23-CV-01710-AMO
14   INTERCONTINENTAL EXCHANGE, INC.                   PLAINTIFF FEDERAL TRADE
                                                       COMMISSION’S PRE-HEARING
15   and                                               PROPOSED FINDINGS OF FACT AND
                                                       CONCLUSIONS OF LAW
16   BLACK KNIGHT, INC.,
                                                       REDACTED VERSION OF DOCUMENT
17                 Defendants.                         SOUGHT TO BE SEALED
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     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO
              Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 2 of 56




1                                                     TABLE OF CONTENTS

2    FEDERAL TRADE COMMISSION’S PROPOSED FINDINGS OF FACT ..................... 1

3    I.   The Parties and the Proposed Acquisition ........................................................................... 1
     II. Residential Mortgage Origination in the United States....................................................... 1
4
          A. The Loan Origination System ...................................................................................... 1
5
                   1. The Role of LOSs in Mortgage Origination ....................................................... 3
6
                   2. Commercial v. Proprietary LOSs ........................................................................ 4
7                  3. Barriers to Entry.................................................................................................. 5
8         B. The Product, Pricing & Eligibility Engine ................................................................... 6

9                  1. The Role of PPEs in Mortgage Origination ........................................................ 6
                   2. Importance of LOS Integration ........................................................................... 7
10
                   3. Barriers to Entry.................................................................................................. 8
11   III. ICE’s Encompass and Black Knight’s Empower Dominate the LOS Space ...................... 9
12        A. Encompass and Empower Are the                                                                     ................................ 9
13        B. ICE and Black Knight Compete Head-to-Head for LOS Customers ........................ 10

14        C. ICE and Black Knight Uniquely Compete to Offer an Integrated Suite of LOS
             and Ancillary Services ............................................................................................... 11
15
          D. Lenders Benefit from Competition Between ICE and Black Knight in the
16           Provision of LOS Services ......................................................................................... 13

17   IV. ICE’s EPPS and Black Knight’s Optimal Blue Dominate the PPE Space ........................ 15
          A. Optimal Blue and EPPS Are the                                                                  .................................. 16
18
          B. ICE and Black Knight Compete Head-to-Head For PPE Customers ........................ 16
19
          C. Competition Between Defendants Led ICE to                                                                           ............ 18
20
          D. Third-Party PPE Providers Are Dependent on Integration with ICE’s
21           Encompass LOS ......................................................................................................... 20
22                 1. ICE Has the Ability to Disadvantage Ancillary Service Providers .................. 20
                   2. ICE Has the Ability to Disadvantage PPE Providers in Particular ................... 21
23
                   3. Post-Acquisition, ICE Will Have Greater Incentive to Disadvantage Rival
24                    PPEs .................................................................................................................. 23
25   V. ICE Announces the Acquisition of Black Knight in May 2022 ........................................ 24

26        A. ICE Provides Information Regarding Purported Synergies and Merger Benefits
             to the FTC and Investor Community ......................................................................... 24
27

28
     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                                                                     i
Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 3 of 56
                Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 4 of 56




1                                                 TABLE OF AUTHORITIES

2    Cases

3    Brown Shoe Co. v. United States, 370 U.S. 294 (1962) .................................................... passim

4    Ford Motor Co. v. United States, 405 U.S. 562 (1972) ...................................................... 43, 45

5    FTC v. Affordable Media, LLC, 179 F.3d 1228 (9th Cir. 1999) ............................................... 32

6    FTC v. Cardinal Health, Inc., 12 F. Supp. 2d 34 (D.D.C. 1998) ............................................. 40

7    FTC v. CCC Holdings Inc., 605 F. Supp. 2d 26 (D.D.C. 2009) ......................................... 33, 47

8    FTC v. Elders Grain, Inc., 868 F.2d 901 (7th Cir. 1989) ......................................................... 34

9    FTC v. Food Town Stores, Inc., 539 F.2d 1339 (4th Cir. 1976) ............................................... 33

10   FTC v. H.J. Heinz Co., 246 F.3d 708 (D.C. Cir. 2001) .......................................... 33, 34, 37, 50

11   FTC v. Hackensack Meridian Health, Inc., 30 F.4th 160 (3d. Cir. 2022) ................................ 38

12   FTC v. Ind. Fed’n of Dentists, 476 U.S. 447 (1986)................................................................. 32

13   FTC v. Meta Platforms Inc., No. 5:22-CV-04325-EJD, 2022 WL 16637996
        (N.D. Cal. Nov. 2, 2022) ............................................................................................. 49, 50
14
     FTC v. Meta Platforms Inc., No. 5:22-CV-04325-EJD, 2023 WL 2346238
15      (N.D. Cal. Feb. 3, 2023) .................................................................................................... 36
16   FTC v. Nat’l Tea Co., 603 F.2d 694 (8th Cir. 1979) .......................................................... 33, 50
17   FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865 (E.D. Mo. 2020) .................................... 50
18   FTC v. ProMedica Health Sys., Inc., No. 3:11-CV-47, 2011 WL 1219281
        (N.D. Ohio Mar. 29, 2011) ................................................................................................ 50
19
     FTC v. Staples, Inc., 970 F. Supp. 1066 (D.D.C. 1997) ..................................................... 36, 45
20
     FTC v. Sysco Corp., 113 F. Supp. 3d 1 (D.D.C. 2015)...................................................... passim
21
     FTC v. Univ. Health, Inc., 938 F.2d 1206 (11th Cir. 1991)...................................................... 50
22
     FTC v. Warner Commc’ns Inc., 742 F.2d 1156 (9th Cir. 1984) ........................................ passim
23
     FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028 (D.C. Cir. 2008) ................................ 33, 35, 37
24
     FTC v. Wilh. Wilhelmsen Holding ASA, 341 F. Supp. 3d 27 (D.D.C. 2018)...................... 39, 50
25
     In re Illumina, Inc., No. 9401, 2023 WL 2823393 (FTC Mar. 31, 2023) .................... 42, 43, 45
26

27

28
     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO
                                                                                                                                       iii
                Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 5 of 56




     St. Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys. Ltd., 778 F.3d 775
1         (9th Cir. 2015) ............................................................................................................ passim
2    Theme Promotions, Inc. v. News Am. Mktg. FSI, 546 F.3d 991 (9th Cir. 2008) ...................... 37
3    United States v. Aetna Inc., 240 F. Supp. 3d 1 (D.D.C. 2017) ............................... 45, 46, 47, 48
4    United States v. Baker Hughes, Inc., 908 F.2d 981 (D.C. Cir. 1990) ....................................... 34
5    United States v. Bazaarvoice, Inc., No. 13-CV-00133-WHO, 2014 WL 203966
6        (N.D. Cal. Jan. 8, 2014) ................................................................................... 34, 37, 48, 49

7    United States v. Cont’l Can Co., 378 U.S. 441 (1964) ............................................................. 39

8    United States v. E.I. du Pont de Nemours & Co., 353 U.S. 586 (1957) ............................. 35, 45
     United States v. Gen. Dynamics Corp., 415 U.S. 486 (1974)............................................. 34, 35
9
     United States v. Phila. Nat’l Bank, 374 U.S. 321 (1963) ............................................. 32, 34, 40
10
     Statutes
11
     15 U.S.C. § 18 ..................................................................................................................... 32, 33
12
     15 U.S.C. § 18a ......................................................................................................................... 45
13
     15 U.S.C. § 45(a)(1).................................................................................................................. 32
14
     15 U.S.C. § 53(b) ...................................................................................................................... 32
15
     Other Authorities
16
     H.R. Rep. No. 94-1373 (1976) .................................................................................................. 45
17
     U.S. Dep’t of Justice, Antitrust Division Policy Guide to Merger Remedies (2004) ............... 45
18
     U.S. Dep’t of Justice & Fed. Trade Comm’n, Horizontal Merger Guidelines (2010)
19       (“Merger Guidelines”) ................................................................................................. 37, 41

20

21

22

23

24

25

26

27

28
     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO
                                                                                                                                                iv
             Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 6 of 56


1            FEDERAL TRADE COMMISSION’S PROPOSED FINDINGS OF FACT

2    I.     The Parties and the Proposed Acquisition

3           1.      Defendant Intercontinental Exchange, Inc. (“ICE”) is a publicly traded

4    corporation incorporated in Delaware, with its headquarters in Atlanta, Georgia, that provides

5    market infrastructure, data services, and technology solutions in three segments: exchanges,

6    fixed income and data services, and mortgage technology. PX0017 (ICE) at 32.

7           2.      In 2020, ICE acquired Ellie Mae, including its industry-leading Encompass loan

8    origination system (“LOS”). PX6046 (Tyrrell (ICE) Dep.) at 15:12-24.

9           3.      ICE operates Encompass and its other mortgage-related businesses, including its

10   EPPS product, pricing, and eligibility engine (“PPE”), through its ICE Mortgage Technology

11   business unit (PX6046 (Tyrrell (ICE) Dep.) at 14:1-10, 15:12-24, 69:14-21), headquartered in

12   Pleasanton, California. PX6021 (Lyons (ICE) Dep.) at 13:21-13:25.

13          4.      Defendant Black Knight, Inc. (“Black Knight”) is a publicly traded corporation

14   incorporated in Delaware, with its headquarters in Jacksonville, Florida, that provides software,

15   data, and analytics. PX0017 (ICE) at 32.

16          5.      Black Knight’s mortgage technology products include the Empower LOS, the

17   Mortgage Servicing Platform (“MSP”), and the Optimal Blue PPE 1, which Black Knight

18   acquired in 2020. PX0021 (Black Knight) at 16, 108.

19          6.      On May 4, 2022, ICE and Black Knight signed an Agreement and Plan of

20   Merger (“Merger Agreement”), whereby ICE agreed to acquire 100% of Black Knight for

21   approximately $13.1 billion (the “Acquisition”). PX0017 (ICE) at 3, 145-46.

22   II.    Residential Mortgage Origination in the United States

23          A.      The Loan Origination System

24          7.      Homebuyers obtain mortgages from a variety of mortgage lending institutions,

25   including small and large banks, credit unions, and independent mortgage banks. To finance a

26   home purchase through a mortgage, a homebuyer typically submits a mortgage application to a

27
     1
28    In addition to its PPE, Optimal Blue offers certain secondary services, including hedging.
     References to Optimal Blue herein are only to the Optimal Blue PPE unless otherwise specified.

     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                     1
             Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 7 of 56


1    lender. The lender then begins the mortgage loan origination process. PX0042 (ICE) at 11.

2           8.      Mortgage lenders, regardless of type and size, rely on LOSs, such as ICE’s

3    Encompass or Black Knight’s Empower, as their primary tool to manage the residential

4    mortgage loan origination process. E.g., PX6048 (          (Strong Home) Dep.) at 74:10-75:4;

5    PX6038 (          (Mutual of Omaha) Dep.) at 75:1-12.

6           9.      Mortgage origination involves many steps between the application and the

7    closing of the loan. Those steps include processing information from the mortgage application,

8    determining the loans and interest rates for which the homebuyer qualifies, locking the interest

9    rate, underwriting the loan, funding the loan, then closing the loan and preparing it to be

10   serviced. E.g., PX0042 (ICE) at 11; PX6038 (             (Mutual of Omaha) Dep.) at 18:14-19:1;

11   PX6047 (Sahi (ICE) Dep.) at 25:11-26:4.

12          10.     As a mortgage moves from application to close, it touches on                 services

13   (“ancillary services”) necessary to process, underwrite, fund, and close a loan. PX2519 (Black

14   Knight) at 2 (showing various third-party ancillary service providers in the origination process).

15          11.     Ancillary services include services such as document vendors, point-of-sale

16   (“POS”) systems for interacting directly with borrowers, and PPEs. E.g., PX6038 (

17   (Mutual of Omaha) Dep.) at 19:22-20:3, 78:7-21; PX6047 (Sahi (ICE) Dep.) at 25:10-26:13.

18   Other ancillary services include credit reports, identity verification, settlement services (e.g.,

19   inspection, appraisal, and flood and title reports and insurance), notary services, and document

20   management. PX2519 (Black Knight) at 2.

21          12.     Ancillary services can include those owned and offered by the LOS operator

22   itself, as is the case with ICE’s EPPS PPE and with Black Knight’s Optimal Blue PPE. PX0042

23   (ICE) at 31-32; PX2063 (Black Knight) at 3. They can also include ancillary services offered by

24   third-party vendors. PX0042 (ICE) at 19.

25          13.     The LOS coordinates and automates many of the interactions between lenders

26   and ancillary services via software integration. PX6046 (Tyrrell (ICE) Dep.) at 16:22-17:16,

27   23:4-13; PX6023 (Hart (ICE) Dep.) at 33:17-34:2; PX6047 (Sahi (ICE) Dep.) at 26:22-27:10;

28   PX6038 (          (Mutual of Omaha) Dep.) at 76:16-78:2.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                       2
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 8 of 56


1           14.    Technical integrations between an LOS and a third-party provider’s ancillary

2    service can be achieved in several ways, including an application programming interface

3    (“API”) or a software development kit (“SDK”). PX6045 (Connors (ICE) Dep.) at 121:23-

4    122:6; PX6046 (Tyrrell (ICE) Dep.) at 22:12-19; PX6065 (         (Lender Price) Dep.) at

5    236:11-16.

6           1. The Role of LOSs in Mortgage Origination

7           15.    The LOS serves as the lender’s system of record for each loan and is used to

8    manage a lender’s workflow and to perform the various commercial, legal, and compliance

9    tasks required during the lending process. PX6046 (Tyrrell (ICE) Dep.) at 16:22-18:3; PX6045

10   (Connors (ICE) Dep.) at 106:22-107:10; PX6047 (Sahi (ICE) Dep.) at 24:22-25:6; PX6065

11   (      (Lender Price) Dep.) at 19:15-25.

12          16.    LOSs process large volumes of data and must evolve to keep pace not only with

13   technological developments, but also with changes to the myriad regulations that affect

14   mortgage lending across the United States. PX6046 (Tyrrell (ICE) Dep.) at 129:2-132:7;

15   PX2022 (Black Knight) at 8.

16          17.    Lenders are subject to federal, state, and local regulatory requirements, and LOSs

17   must support these requirements and respond to regulatory changes from federal regulators,

18   government-sponsored enterprises, states, and counties. PX0021 (Black Knight) at 96; PX6046

19   (Tyrrell (ICE) Dep.) at 130:25-132:19; PX6048 (        (Strong Home) Dep.) at 74:10-75:6.

20          18.    Given the complexity of regulatory requirements, as well as the large amount of

21   information flowing through LOSs,

22                                  PX6048 (        (Strong Home) Dep.) at 74:10-75:1; PX6038

23   (       (Mutual of Omaha) Dep.) at 71:8-18; PX7001 (            (Mutual of Omaha) Decl.) ¶ 5.

24          19.    In essence, LOSs are the lender’s “source of truth” regarding the status of a loan

25   at any given point in the origination process. PX6046 (Tyrrell (ICE) Dep.) at 17:17-18:3;

26   PX6045 (Connors (ICE) Dep.) at 106:22-107:10.

27          20.    No other software can serve as a replacement for an LOS. PX6043 (

28   (Polly) Dep.) at 116:19-117:17; PX6048 (        (Strong Home) Dep.) at 79:12-80:14. Thus, not


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                   3
             Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 9 of 56


1    surprisingly,                                               , routinely recognize LOSs as a distinct

2    product in the ordinary course of their business. E.g., PX2525 (Black Knight) at 7; PX1706

3    (ICE) at 2; cf. PX8000 (Sacher (FTC) Rep.) ¶¶ 129-146 (a hypothetical monopolist of LOSs

4    could profitably impose a small but significant and nontransitory increase in price (“SSNIP”)).

5           21.        LOS providers offer their services and compete on a nationwide basis. PX1102

6    (ICE) at 57; PX0021 (Black Knight) at 63.

7           2. Commercial v. Proprietary LOSs

8           22.        LOSs come in two forms: those licensed from third party providers

9    (“commercial LOSs”) and those developed and maintained in-house by lenders (“proprietary

10   LOSs”). See PX6050 (                   (Impac) Dep.) at 44:2-14.

11          23.        A proprietary LOS is designed specifically for and around the needs of a

12   particular lender. PX6014 (Connors (ICE) IH) at 103:5-18.

13                                                                                          . PX6055

14   (      (Carrington) Dep.) at 91:20-92:17.

15          24.        Indeed, the

16

17                   . E.g., PX6051 (          (Impac) Dep.) at 41:9-42:5; PX7002 (               (Impac)

18   Nov. 10, 2022 Decl.) ¶¶ 1, 8.

19          25.        As Black Knight itself has recognized:

20

21                                   PX2316 (Black Knight) at 221.

22          26.        For these reasons,                        rely on commercial LOSs, rather than

23   proprietary LOSs, PX2022 (Black Knight) at 8, and the trend among those lenders who

24   maintain proprietary LOSs is                                    . PX6065 (       (Lender Price)

25   Dep.) at 180:16-181:21; PX1709 (ICE) at 8; PX6046 (Tyrrell (ICE) Dep.) at 67:7-68:2.

26          27.        By way of recent example, in 2023,

27

28


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                        4
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 10 of 56


1                          PX6046 (Tyrrell (ICE) Dep.) at 66:17-68:2.

2           28.

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5                                PX6046 (Tyrrell (ICE) Dep.) at 67:15-24.

6           29.       Lenders using proprietary LOSs do not

7                           See PX6033 (Larsen (Black Knight) Dep.) at 17:11-16.

8           30.       On the other hand, firms such as ICE and Black Knight

9                                                      E.g., PX2523 (Black Knight) at 3; PX6046

10   (Tyrrell (ICE) Dep.) at 128:18-132:19.

11          31.       ICE’s Encompass has maintained                           among LOSs (PX1711

12   (ICE) at 5; PX2319 (Black Knight) at 7) despite

13                E.g., PX6046 (Tyrrell (ICE) Dep.) at 36:17-24; PX1096 (ICE) at 13; cf. PX8000

14   (Sacher (FTC) Rep.) ¶¶ 154-59 (SSNIP by a hypothetical monopolist of commercial LOSs

15   would not be defeated by lenders switching to proprietary LOSs).

16          3. Barriers to Entry

17          32.       Building a successful LOS is no small undertaking. Black Knight itself estimates

18   that it would cost                       to develop an LOS plus                              to

19   support developing regulatory requirements. PX0021 (Black Knight) at 97.

20          33.       A potential LOS entrant has limited opportunities to persuade a lender to switch

21   LOSs because LOS contracts typically have a multiyear term.

22                             PX6012 (Tyrrell (ICE) IH) at 63:20-65:8. As of July 2022,

23

24                                                                          PX0019 (ICE) at 3.

25          34.       Any potential LOS entrant must also overcome lenders’ costs of switching LOSs.

26   E.g., PX6055 (         (Carrington) Dep.) at 85:20-86:22 (

27                                                                                                     );

28   PX6050 (               (Impac) Dep.) at 44:21-45:10 (


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                    5
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 11 of 56


1                                                                  ); PX1158 (ICE) at 4-6.

2           35.     Furthermore, switching an LOS

3             . PX7002 (              (Impac) Dep.) at 47:1-21.

4           B.      The Product, Pricing & Eligibility Engine

5           1. The Role of PPEs in Mortgage Origination

6           36.     One of the most important ancillary services in mortgage origination is the

7    pricing engine—or PPE. PX6007 (            (Lender Price) IH) at 27:21-30:5, 30:16-32:13;

8    PX6043 (          (Polly) Dep.) at 115:14-117:17.

9           37.     Mortgage lenders use PPEs to price and to lock a mortgage. PX6021 (Lyons

10   (ICE) Dep.) at 31:12-32:10; PX6045 (Connors (ICE) Dep.) at 132:22-133:7.

11          38.     First, a loan officer or borrower inputs the borrower’s financial, property, and

12   other application data. The PPE then analyzes that data and returns products (i.e., mortgage

13   terms, such as fixed or adjustable rates) and prices (i.e., interest rates) for which the borrower is

14   eligible. E.g., PX6035 (           (Umpqua) Dep.) at 20:5-21:1; PX6038 (              (Mutual of

15   Omaha) Dep.) at 19:22-20:3; PX6048 (            (Strong Home) Dep.) at 79:12-80:7.

16          39.     Once a borrower has settled on mortgage terms, the loan officer can use the PPE

17   to lock in the interest rate pending closing of the underlying real estate transaction. PX6021

18   (Lyons (ICE) Dep.) at 47:22-48:18.

19          40.     A PPE replaces manual review of various rate sheets and calculations. A

20   seasoned loan officer might take                     to generate a quote for a customer, whereas a

21   PPE can compile that information in

22                                      PX6048 (         (Strong Home) Dep.) at 79:12-81:12.

23          41.     No other product can serve as a replacement for a PPE. PX6043 (               (Polly)

24   Dep.) at 115:14-117:17; PX6041 (            (SouthPoint) Dep.) at 20:8-21:15, 63:14-64:9;

25   PX7008 (          (SouthPoint) Decl.) ¶ 6; PX6048 (         (Strong Home) Dep.) at 79:12-80:20;

26   cf. PX8000 (Sacher (FTC) Rep.) ¶ 201 (in the event of a SSNIP on all PPEs by a hypothetical

27   monopolist, lenders would not switch to alternate methods of pricing and locking loans in

28   sufficient numbers to render the price increase unprofitable).


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                       6
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 12 of 56


1           42.                                               , recognize PPEs as a distinct product.

2    See PX6035 (            (Umpqua) Dep.) at 122:25-123:19; PX7007 (             (Umpqua) Feb.

3    14, 2023 Decl.) ¶ 7 (

4                                      ); PX6007 (       (Lender Price) IH) at 27:21-30:5

5    (

6                                   ); PX1166 (ICE) at 42; PX2259 (Black Knight) at 8.

7           43.     PPE providers offer their services and compete on a nationwide basis. PX1102

8    (ICE) at 57; PX0021 (Black Knight) at 63.

9           44.     As with LOSs, some lenders may use proprietary PPEs,

10                                        PX6024 (McMahon (Black Knight) Dep.) at 116:5-12.

11          45.     The President of Black Knight’s Origination Technology business

12

13                   . PX6008 (Gagliano (Black Knight) IH) at 123:20-24.

14          2. Importance of LOS Integration

15          46.     Software integration between a PPE and a lender’s LOS enables a PPE’s full

16   functionality, enabling loan and application data to flow automatically between the LOS, PPE,

17   and other ancillary services. PX6021 (Lyons (ICE) Dep.) at 32:11-33:16; PX6025 (Anderson

18   (Black Knight) Dep.) at 68:15-70:1; PX6065 (        (Lender Price) Dep.) at 20:1-21:3.

19          47.

20

21                                                            PX6065 (        (Lender Price) Dep.)

22   at 20:1-21:3, 178:18-180:12, 186:4-187:2; PX6052 (Batt (Black Knight) Dep.) at 75:12-22.

23          48.     Lenders thus

24          E.g., PX6048 (         (Strong Home) Dep.) at 85:5-14; PX6041 (        (SouthPoint)

25   Dep.) at 33:10-15, 72:18-74:2, 80:2-6.

26          49.     Nearly all lenders using a PPE                                . PX6065 (

27   (Lender Price) Dep.) at 21:17-22:6, 17:9-20, 176:13-17; PX6043 (         (Polly) Dep.) at

28   78:13-79:22.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                   7
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 13 of 56


1           50.     Integrating a PPE with an LOS is a significant software engineering undertaking

2                                     . PX1701 (ICE) at 1. Most mortgage lenders

3                                                                                     . PX6041 (

4    (SouthPoint) Dep.) at 33:10-15; PX6007 (           (Lender Price) IH) at 205:15-25.

5           51.     Because it is a

6              few lenders                                                   . PX6007 (          (Lender

7    Price) IH) at 205:15-25. Indeed, lenders

8                                                                  . PX1698 (ICE) at 3-5; cf. PX8000

9    (Sacher (FTC) Rep.) ¶¶ 202-215 (in event of a SSNIP for PPEs for users of ICE’s Encompass

10   LOS, lenders would not switch to alternative LOSs or PPEs not integrated with Encompass in

11   sufficient volumes to render the price increase unprofitable).

12          52.     As such, ICE itself has

13

14                           . PX1640 (ICE) at 8.

15          3. Barriers to Entry

16          53.     ICE’s EPPS and Black Knight’s Optimal Blue are two PPEs in

17                                              due to acquisitions and consolidation, PX1640 (ICE)

18   at 6, and is characterized by high barriers to entry.

19          54.     Black Knight has estimated that it would take approximately

20                  to develop a commercial pricing tool comparable to the capability of the Optimal

21   Blue. PX0021 (Black Knight) at 102. Altogether, Black Knight has further estimated it would

22   take                    for a competitive pricing tool to compete profitably. Id. at 103.

23          55.     In part, this is because once development of the pricing tool is complete, a new

24   PPE entrant would need to

25                                                    . PX0021 (Black Knight) at 101-02.

26          56.     Importantly, a new PPE entrant would also need to

27                                . PX0021 (Black Knight) at 102; PX6065 (           (Lender Price)

28   Dep.) at 176:2-17. In particular, integration with ICE’s Encompass is


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                       8
              Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 14 of 56


1                                  . Infra Findings of Fact (“FOF”) ¶¶ 134-37; PX6043 (           (Polly)

2    Dep.) at 25:22-27:12, 64:22-65:21

3

4              57.    Lender Price has raised roughly                                   , and today has

5                          . PX6065 (         (Lender Price) Dep.) at 165:23-167:2, 175:9-21.

6    III.      ICE’s Encompass and Black Knight’s Empower Dominate the LOS Space

7              58.    ICE’s Encompass is the dominant LOS in the United States and processes

8           of all residential mortgages originated across the nation each year. Black Knight’s

9    Empower is the                     LOS in the United States. Infra FOF ¶¶ 60-64.

10             59.    ICE and Black Knight compete vigorously to provide their respective LOSs to

11   the same mortgage lender customers. Infra id. ¶¶ 65-74. As stated by Black Knight’s CFO,

12   “[W]e have one primary competitor in each business. . . . In [o]rigination, it’s ICE . . . .”

13   PX2316 (Black Knight) at 56. This competition has resulted in tangible benefits for lenders and

14   the marketplace more generally, including

15                                        . Infra FOF ¶¶ 75-86.

16             A.     Encompass and Empower Are the

17             60.    The Home Mortgage Disclosure Act (HMDA) is used by lenders and regulators

18   to evaluate loan volumes. HMDA requires financial institutions that originate mortgage loans to

19   maintain and report loan-level mortage data. PX6046 (Tyrrell (ICE) Dep.) at 50:4-24.

20             61.    HMDA data is                                 data source for the number of

21   mortgage loans originated by lenders and                      of loan origination volume available.

22   PX6046 (Tyrrell (ICE) Dep.) at 50:14-17, 55:1-6; PX1091 (ICE) at 1

23

24

25                     . ICE has

26                       PX1046 (ICE) at 5-7; PX6046 (Tyrrell (ICE) Dep.) at 50:14-24.

27           62.                                                                                place

28     ICE’s share among commercial LOSs                    and its share among all LOSs


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                         9
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 15 of 56


1    PX1046 (ICE) at 6; PX2319 (Black Knight) at 7; PX8000 (Sacher (FTC) Rep.) Tables 9-12.

2           63.     Black Knight’s share among commercial LOSs                        and its share

3    among all LOSs is             PX1046 (ICE) at 6; PX2319 (Black Knight) at 7; PX8000 (Sacher

4    (FTC) Rep.) Tables 9-12.

5           64.     No other commercial LOS has captured more than             among commercial LOSs

6    or more than     among all LOSs. PX8000 (Sacher (FTC) Rep.) Tables 9-12.

7           B.      ICE and Black Knight Compete Head-to-Head for LOS Customers

8           65.     ICE and Black Knight

9                                            , e.g., PX6047 (Sahi (ICE) Dep.) at 121:4-8, and

10                                                           . E.g., PX2002 (Black Knight) at 5-10;

11   PX6040 (Dugan (Black Knight) Dep.) at 41:8-17, 46:1-47:17; PX1656 (ICE) at 12.

12          66.     In 2020, Black Knight’s former CEO and current Chairman, Anthony Jabbour,

13   called Ellie Mae (now ICE’s Encompass)

14                  PX6058 (Jabbour (Black Knight) Dep.) at 31:3-33:12 (discussing PX2033

15   (Black Knight) at 19).

16          67.     Kirk Larsen, Black Knight CFO, was more direct later that year:

17          [H]istorically, Black Knight was focused on the high end of the market. And so we were
            selling in the top 50 … until about probably two years ago where we started going down
18
            market in earnest …. As you go - as we started going down market, say to the top 500
19          lenders, that’s where Ellie Mae has their primary market share and there’s other players
            there. But really it’s Ellie Mae with Encompass that is the primary competitor there. So,
20          we really went after that market in earnest, like I said, starting a couple of years ago . . . .
21   PX2316 (Black Knight) at 39.

22          68.     Similarly, Joe Tyrrell, former ICE Mortgage Technology President, noted that,

23   for

24                                                   PX6046 (Tyrrell (ICE) Dep.) at 11:7-22, 63:7-

25   64:11; PX1076 (ICE) at 1.

26          69.     And Black Knight, in                                                        , noted:

27

28                                                  PX2316 (Black Knight) at 169.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                       10
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 16 of 56


1           70.      While Encompass and Empower may have traditionally targeted certain sized

2    customers in the past, PX2316 (Black Knight) at 39,

3                 PX6045 (Connors (ICE) Dep.) at 108:22-109:5; PX0019 (ICE) 2-3.

4           71.

5                                 . Black Knight’s

6

7

8

9                                               PX8000 (Sacher (FTC) Rep.) at ¶¶ 297-300.

10          72.      Many lenders consider ICE’s Encompass LOS and Black Knight’s Empower

11   LOS                                   . For example,

12

13                                                                   PX6055 (         (Carrington)

14   Dep.) at 67:21-68:11 (discussing PX7000 (        (Carrington) Oct. 31, 2022 Decl.) ¶ 7).

15          73.      Lender

16

17

18                                                                       . PX6055 (

19   (Carrington) Dep.) at 88:7-10, 88:13-90:2; PX6050 (              (Impac) Dep.) at 57:14-58:4,

20   58:10-25; PX7002 (               (Impac) Nov. 10, 2022 Decl.) at ¶ 13.

21          74.

22

23                                                               . PX6050 (             (Impac)

24   Dep.) at 47:1-3, 47:11-21, 57:14-58:4, 58:10-25; PX7002 (                (Impac) Nov. 10, 2022

25   Decl.) ¶ 10. Notably, when

26                                                                   . PX6050 (               (Impac)

27   Dep.) at 49:9-15, 49:18-50:4; PX7002 (              (Impac) Nov. 10, 2022 Decl.) ¶ 11.

28          C.       ICE and Black Knight Uniquely Compete to Offer an Integrated Suite of


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                   11
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 17 of 56


1                   LOS and Ancillary Services

2           75.     Today, ICE and Black Knight have the broadest range of ancillary offerings

3    available—either owned and offered by one of the parties or integrated with the parties’

4    platforms—providing them with the unique ability to provide lenders with a full set of tools that

5    obviate the need to go outside their respective ecosystems for ancillary services.

6           76.     ICE boasts that it has “                                      ” See PX9050 at 1.

7           77.     For its part, Black Knight supplements functionality of its Empower LOS with a

8    host of ancillary services aimed at one or more of the discrete steps in the mortgage origination

9    workflow, including POS, marketing, compliance, fees, closing, funding, and business

10   intelligence. PX6040 (Dugan (Black Knight) Dep.) at 14:24-15:3, 17:4-19, 22:1-14 (discussing

11   PX2063 (Black Knight)); PX2063 (Black Knight) at 3; PX2521 (Black Knight) at 11, 14.

12          78.     In addition to offering third-party ancillary services on their LOSs, ICE and

13   Black Knight own or resell a number of ancillary services that they offer to their LOS lender

14   customers. PX2063 (Black Knight) at 3; PX1582 (ICE) at 28-29.

15          79.     ICE and Black Knight’s ownership of certain ancillary services allows for

16                                                                                        PX6020

17   (Moreno (Black Knight) Dep.) at 46:1-3 (“

18                                                        .”); PX6045 (Connors (ICE) Dep.) at

19   132:10-14, 135:9-137:2 (                                         ).

20          80.     Having these services at their disposal also means ICE and Black Knight are

21   uniquely positioned to offer lenders

22                                                                                        PX2023

23   (Black Knight) at 13-14 (

24                                                  ).

25          81.     ICE and Black Knight also can                                     into their

26   respective LOS offerings. Black Knight

27

28                               . PX6040 (Dugan (Black Knight) Dep.) at 14:24-15:3, 20:7-21:4,


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                     12
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 18 of 56


1    23:14-25:19; PX2063 (Black Knight) at 3.

2           82.     Bundling mortgage technologies appeals to lenders because it simplifies their

3    pricing, contracts, and vendor management. PX6040 (Dugan (Black Knight) Dep.) at 94:25-

4    95:13; see also id. at 112:17-23 (“

5                                                                                    .”); PX6030

6    (Gagliano (Black Knight) Dep.) at 64:8-18, 64:20.

7           83.     According to former ICE Mortgage Technology President Joe Tyrrell,

8

9                                                                  PX1073 (ICE) at 1. And ICE’s

10                                                                                           . PX6065

11   (      (Lender Price) Dep.) at 134:22-24, 135:1-15.

12          84.     The threat of Black Knight’s

13

14                                                       . E.g., PX1085 (ICE) at 3

15

16

17                      ).

18          D.      Lenders Benefit from Competition Between ICE and Black Knight in the

19                  Provision of LOS Services

20          85.     Head-to-head competition between Encompass and Empower has resulted in

21                               , including in the form of                                 . See, e.g.,

22   PX1077 (ICE) at 10-11 (

23                           ); PX1012 (ICE) at 4 (

24           ); PX1059 (ICE) at 2-4 (

25                       ); PX2524 (Black Knight) at 2; PX6035 (            (Umpqua) Dep.) at

26   121:10-14, 121:16-20; see also PX6046 (Tyrrell (ICE) Dep.) at 56:14-18 (

27                                                                                                 ).

28          86.     Indeed, Black Knight’s Empower currently serves as


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                    13
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 19 of 56


1                            . PX6055 (         (Carrington) Dep.) at 72:25-74:2 (discussing PX7000

2    (     (Carrington) Oct. 31, 2022 Decl.) ¶ 9) and

3

4             ); PX6047 (Sahi (ICE) Dep.) at 129:21-24, 129:24-131:1; PX6046 (Tyrrell (ICE)

5    Dep.) at 25:12-21, 26:19-27:1 (

6                                                 ).

7           87.    At ICE,                                                       . When ICE

8    acquired Ellie Mae, ICE announced

9

10                                PX6046 (Tyrrell (ICE) Dep.) at 33:8-34:3; PX1096 (ICE) at 9-10.

11          88.

12                                                     PX1096 (ICE) at 13.

13          89.    To meet its

14

15

16                    PX6046 (Tyrrell (ICE) Dep.) at 36:2-10, 36:17-24.

17          90.

18                                                                                             .

19   PX6045 (Connors (ICE) Dep.) at 130:20-132:6; PX6046 (Tyrrell (ICE) Dep.) at 45:11-46:3.

20          91.    One way that ICE justifies

21                                                                                    . PX6046

22   (Tyrrell (ICE) Dep.) at 30:11-21, 31:2-13, 37:3-21, 38:12-24 (discussing PX1596 (ICE));

23   PX1596 (ICE) at 4; PX1082 (ICE) at 1.

24

25

26

27

28


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                    14
Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 20 of 56
              Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 21 of 56


1    between ICE’s EPPS and Black Knight’s Optimal Blue also benefits lenders and the

2    marketplace more generally. Defendants’ efforts to win PPE customers from one another have

3    led to

4                       . Infra FOF ¶¶ 102-118.

5             A.     Optimal Blue and EPPS Are the

6             97.    ICE’s data reflects that Optimal Blue commands a         share of PPE users on

7    Encompass, and ICE’s EPPS claims             . See PX8000 (Sacher (FTC) Rep.) ¶¶ 259-62 &

8    Table 15; accord PX1270 (ICE) at 1

9                                                    ); see also PX6046 (Tyrrell (ICE) Dep.) at 71:1-

10   16, 71:22-72:25; PX1589 (ICE) at 1.

11            98.    Black Knight estimates that its Optimal Blue boasts a      share among all

12   PPEs. PX2311 (Black Knight) at 5.

13            99.    Although EPPS is

14

15                      among all PPEs—irrespective of LOS platform. PX1166 (ICE) at 42.

16            100.                                              widely recognize Optimal Blue and

17   EPPS as the most used PPEs. E.g., PX6047 (Sahi (ICE) Dep.) at 91:9-20; PX6065 (

18   (Lender Price) Dep.) at 113:22-114:23.

19            101.   No other PPE provider can claim more than               of PPEs on Encompass,

20   no matter how concentration is measured. PX8000 (Sacher (FTC) Rep.) Table 15-19.

21            B.     ICE and Black Knight Compete Head-to-Head For PPE Customers

22            102.

23                                                  . PX6041          (SouthPoint) Dep.) at 24:25-

24   25:15, 77:11-78:5; PX6065 (         (Lender Price) Dep.) at 116:19-117:11, 129:21-131:12,

25   PX6021 (Lyons (ICE) Dep.) at 45:4-46:8, 193:12-194:24, 196:3-9.

26            103.   Even though there may be differences in functionality between EPPS and OB,

27                                      . PX1640 (ICE) at 4, 10-11.

28            104.   Thus, not surprisingly, Optimal Blue regularly                         . E.g.,


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                   16
Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 22 of 56
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 23 of 56


1                           Id. at 1.

2                                                   . Id. at 2; PX2218 (Black Knight) at 12.

3           110.    Additional examples of

4                                                                                    (PX2131 (Black

5    Knight) at 1-2; PX2123 (Black Knight) at 1-2);                       (PX2098 (Black Knight) at

6    1-5; PX2509 (Black Knight) at 1-2);                         . (PX2092 (Black Knight) at 1-2);

7    and                 (PX2094 (Black Knight) at 1-2).

8           111.    Consistent with this documentary evidence of head-to-head competition, Black

9    Knight’s

10                                        . PX8000 (Sacher (FTC) Rep.) ¶¶ 433-37.

11          112.                                     , the FTC’s expert Dr. Seth Sacher modeled that

12   PPE prices for Encompass users may increase                    post-Acquisition due to the

13   elimination of competition between EPPS and Optimal Blue, depending on the methodology

14   and assumptions applied. Id. ¶¶ 32-38.

15          C.      Competition Between Defendants Led ICE to

16          113.    The competition between Optimal Blue and EPPS

17

18                                                     . PX1553 (ICE) at 8-10.

19          114.    ICE feared that

20

21

22

23               PX6014 (Connors (ICE) IH) at 164:15-167:14; see also PX6045 (Connors (ICE)

24   Dep.) at 58:6-59:23, 60:7-12.

25          115.    In response, ICE

26                                    (PX1556 (ICE) at 1), to

27                               PX1553 (ICE) at 10.

28          116.    One pillar


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                   18
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 24 of 56


1

2                                                                         . PX1553 (ICE) at 15-

3    19; PX1116 (ICE) at 4; PX6045 (Connors (ICE) Dep.) at 46:5-8; PX6047 (Sahi (ICE) Dep.) at

4    91:9-92:16; PX6027 (Davis (ICE) Dep.) at 49:15-50:10.

5           117.   Beginning in 2021,

6                                                                                      PX1116

7    (ICE) at 7; PX1588 (ICE) at 4; PX6027 (Davis (ICE) Dep.) at 55:22-56:3.

8           118.   ICE continued to

9

10   (PX1238 (ICE) at 1) and

11                                                           . E.g., PX1718 (ICE) at 1; PX6035

12             (Umpqua) Dep.) at 97:6-19).

13          119.   ICE further

14

15                       PX6047 (Sahi (ICE) Dep.) at 97:21-98:10, 98:23-99:11.

16          120.   However, on

17

18                                                           PX1267 (ICE) at 2.

19          121.   ICE                                                              . PX6027 (Davis

20   (ICE) Dep.) at 55:22-56:3, 56:18-57:2, 57:8-13.

21          122.   By

22

23                                                                               . PX1588 (ICE) at 3;

24   see also PX1096 (ICE) at 42; PX1241 (ICE) at 1.

25                 PX6045 (Connors (ICE) Dep.) at 138:21-23.

26          123.   Industry participants have noticed

27                                                 . PX6065 (       (Lender Price) Dep.) at 129:21-

28   131:12; PX6035 (            (Umpqua) Dep.) at 97:24-98:6.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                 19
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 25 of 56


1           D.       Third-Party PPE Providers Are Dependent on Integration with Encompass

2           124.     Lenders use various ancillary services to originate mortgages. These services are

3    typically integrated with a lender’s LOS. PX6047 (Sahi (ICE) Dep.) at 26:22-27:10; PX6046

4    (Tyrrell (ICE) Dep.) at 23:4-13; PX6038 (          (Mutual of Omaha) Dep.) at 76:16-78:2.

5           1. ICE Has the Ability to Disadvantage Ancillary Service Providers

6           125.     LOSs make the determination of

7                                           E.g., PX6023 (Hart (ICE) Dep.) at 43:15-18, 52:1-12,

8    58:9-12, 59:7-25; PX6045 (Connors (ICE) Dep.) at 121:23-122:6, 122:16-123:2; PX6065

9    (      (Lender Price) Dep.) at 195:10-199:15; PX2115 (Black Knight) at 1 (

10                                          .

11          126.     One factor in that determination can be whether

12                        PX6047 (Sahi (ICE) Dep.) at 29:22-30:21, 52:7-13, 68:13-16. For instance,

13   Black Knight has

14       . PX6065 (         (Lender Price) Dep.) at 45:5-16, 217:7-219:15.

15          127.

16

17                                     . PX6046 (Tyrrell (ICE) Dep.) at 23:14-24:18; PX6065 (

18   (Lender Price) Dep.) at 196:25-198:18, 213:19-215:1; PX6047 (Sahi (ICE) Dep.) at 39:23-41:4.

19          128.     Ancillary service providers have

20                                                       . See PX6043 (         (Polly) Dep.) at 75:5-

21   21, 88:17-90:3; PX6065 (         (Lender Price) Dep.) at 196:25-199:15 (

22                                                                     ); see also PX6037

23   (              (Blend) Dep.) at 44:11-45:17.

24          129.     One manifestation of this

25

26

27

28                 PX6037 (              (Blend) Dep.) at 29:16-30:17.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                  20
Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 26 of 56
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 27 of 56


1               ), 204:2-7. This is especially so because

2                               . See PX6065 (        (Lender Price) Dep.) at 45:5-16, 217:7-219:15.

3           135.    According to one PPE provider:

4

5                  PX6043 (         (Polly) Dep.) at 26:16-20.

6           136.    Another PPE provider noted,

7

8                                              PX6065 (        (Lender Price) Dep.) at 204:2-19.

9           137.    Indeed, PPE providers describe

10                                                             PX6043 (            (Polly) Dep.) at

11   128:12-131:6; accord id. at 64:22-65:21

12                                                                PX6007 (           (Lender Price) IH)

13   at 181:1-12

14

15

16          138.    Even when ICE allows

17

18

19                            E.g., PX6047 (Sahi (ICE) Dep.) at 32:17-34:1, 66:5-25, 71:10-18,

20   71:24-72:8, 73:14-19; PX6065 (         (Lender Price) Dep.) at 195:10-199:15 (

21                                               ); PX6043 (        (Polly) Dep.) at 79:11-22, 81:8-18

22   (                                                                                       ); see also

23   PX6045 (Connors (ICE) Dep.) at 122:16-123:2 (

24                                                                            ).

25          139.                                                                                           .

26   PX6047 (Sahi (ICE) Dep.) at 112:2-23; PX6065 (            (Lender Price) Dep.) at 195:10-199:15.

27          140.    ICE’s response to

28


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                       22
               Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 28 of 56


1              141.   After Black Knight acquired Optimal Blue, ICE

2                                                (PX1025 (ICE) at 1),

3                                                                                           (PX1346 (ICE)

4    at 16).

5

6

7                                    PX1025 (ICE) at 1.

8              142.   To do so,

9    (PX1346 (ICE) at 16), and began

10                                                                        PX1132 (ICE) at 1

11

12                                                        ); PX1452 (ICE) at 1 (

13

14                       ); PX1411 (ICE) at 1-2; see also PX6043 (            (Polly) Dep.) at 81:24-

15   83:18 (

16                                                                                                         );

17   PX6065 (          (Lender Price) Dep.) at 204:21-205:23, 207:1-208:9; PX6047 (Sahi (ICE) Dep.)

18   at 110:21-111:13, 114:10-115:1 (

19                                                   ).

20             143.

21             PX1346 (ICE) at 26.

22             144.   ICE

23                                                                                 . PX1394 (ICE) at 1;

24   PX1392 (ICE) at 1                                                                                     ).

25             3. Post-Acquisition, ICE Will Have Greater Incentive to Disadvantage Rival PPEs

26             145.   Despite ICE’s

27

28


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                       23
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 29 of 56


1                            . PX6012 (Tyrrell (ICE) IH) at 254:7-24, 338:16-339:10.

2           146.     Thus,

3

4

5                            PX8000 (Sacher (FTC) Rep.) ¶¶ 494-505.

6           147.

7                                                                               , ICE’s incentive to

8    disadvantage those PPEs in favor of its own PPEs, to include Optimal Blue, will increase after

9    the Acquisition. PX8000 (Sacher (FTC) Rep.) ¶ 505.

10          148.

11

12                                             PX5102 (Lender Price) at 3; PX6007 (        (Lender

13   Price) IH) at 175:24-176:25.

14   V.     ICE Announces the Acquisition of Black Knight in May 2022

15          149.     ICE announced the Acquisition of Black Knight on May 4, 2022. PX1728 (ICE)

16   at 1. Following ICE’s and Black Knight’s required Hart-Scott-Rodino (“HSR”) Act filings, the

17   the FTC began a nearly 10-month investigation.

18          A.       ICE Provides Information Regarding Purported Synergies and Merger

19                   Benefits to the FTC and Investor Community

20          150.     In response to inquiries by the FTC during its investigation, ICE provided

21

22   PX1102 (ICE) at 90-92; PX1723 (ICE) at 1.

23          151.     Joe Tyrrell, former President of ICE’s Mortgage Technology division, was

24                                                                                     PX1102 (ICE)

25   at 92, and

26   PX6012 (Tyrrell (ICE) IH) at 163:7-164:12; PX1102 (ICE) at 91; PX1100 (ICE) at 3.

27          152.     Tyrrell conceded that much of the basis for

28                PX6046 (Tyrrell (ICE) Dep.) at 158:24-159:6, 160:11-162:9; PX6012 (Tyrrell (ICE)


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                   24
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 30 of 56


1    IH) at 158:18-159:21.                                                          PX6046 (Tyrrell

2    (ICE) Dep.) at 162:6-9.

3           153.    Notably, ICE’s

4

5                                              PX1100 (ICE) at 4; PX6046 (Tyrrell (ICE) Dep.) at

6    140:16-142:13 (discussing PX1100).

7           154.    ICE’s analysis of

8                                          . PX6034 (Jackson (ICE) Dep.) at 120:19-121:18.

9           155.    ICE touted to the investment community that

10                                                     . PX1582 (ICE) at 35.

11          156.    ICE made similar representations to the FTC. PX1102 (ICE) at 91

12

13                                                          ).

14          157.    ICE’s estimate of

15

16

17   PX6046 (Tyrrell (ICE) Dep.) at 121:18-123:6, 123:16-22, 125:5-9.

18          158.    ICE never calculated

19

20                                                                                  . PX6012 (Tyrrell

21   (ICE) IH) at 249:16-250:18; PX6034 (Jackson (ICE) Dep.) at 49:21-53:10, 200:24-201:7.

22          B.      ICE Considered

23          159.    As part of the Acquisition, ICE will acquire MSP, Black Knight’s loan servicing

24   technology and                                                . PX1582 (ICE) at 9; PX6033

25   (Larsen (Black Knight) Dep.) at 19:22-20:6.

26          160.    Defendants claim certain efficiencies and benefits from the Acquisition will

27   occur as a result of                                                      (Dkt. 145 at 1), but

28   ICE


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                    25
             Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 31 of 56


1                                               :

2            a.                              (PX6046 (Tyrrell (ICE) Dep.) at 74:2-7; PX6012 (Tyrrell

3                 (ICE) IH) at 260:11-25, 262:10-263:5);

4            b.                                            (PX1568 (ICE) at 19); and

5            c.                                                                                       .

6                 PX6046 (Tyrrell (ICE) Dep.) at 74:12-75:15; PX1085 (ICE) at 2-3; PX6014

7                 (Connors (ICE) IH) at 89:11-89:18; PX6068 (          (Warburg) Dep.) at 167:13-

8                 170:3, 147:17-152:8.

9            161.    ICE, however, did not

10

11          PX6047 (Sahi (ICE) Dep.) at 140:10-23.

12   VI.     Defendants Scramble to Divest Empower in a Self-Made, Slapdash Remedy

13           162.    On March 7, 2023,                                                                    ,

14   ICE, Black Knight, and Constellation Software, Inc. (together with its subsidiaries and

15   affiliates, “Constellation”),            an agreement for the sale of certain assets including

16   Black Knight’s Empower to Constellation. PX6029 (Wilhelm (Constellation) Dep.) at 89:2-16;

17   PX6054 (Hubbard (Truist) Dep.) at 23:13-24:21. Notably, these assets do not include Optimal

18   Blue. PX4097 (Constellation) at 117.

19           163.    Constellation                                         PX6054 (Hubbard (Truist)

20   Dep.) at 31:6-19, and offers a small LOS called MortgageBuilder

21                    PX6055 (       (Carrington) Dep.) at 101:5-13; PX6051 (             (Impac)

22   Dep.) at 54:25-55:11.

23           164.    Constellation

24                                            . PX6032 (George (Constellation) Dep.) at 161:21-23.

25   And according to the head of Constellation’s mortgage business, the deal team

26

27         PX6049 (Ryczek (Constellation) Dep.) at 112:22-113:5.

28           A.      The Divestiture Conveys an Incomplete Business and Will Create Ongoing


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                       26
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 32 of 56


1                   Entanglements and Render Constellation Dependent Upon ICE

2           165.    Under the terms of the proposed divestiture, Constellation, unlike Black Knight,

3    will not own many of the ancillary products integrated with Empower, and can only resell,

4                            , some of those products under a Commercial Agreement with ICE (the

5    “Resale Products”). See PX4097 (Constellation) at 100, 104, 117-19, 128-33.

6           166.    Owning a broad portfolio of mortgage technologies that can be sold together

7    with Empower allows Black Knight to

8                                                  . PX6040 (Dugan (Black Knight) Dep.) at 14:24-

9    15:16, 23:14-25:14; PX8001 (Sacher (FTC) Rebuttal) ¶ 234.

10          167.    Under the Commercial Agreement, however, Constellation

11                                             . PX4097 (Constellation) at 104, 128-33. That

12

13

14                                              . PX8001 (Sacher (FTC) Rep.) ¶ 235.

15          168.    Today, Black Knight only offers        products in Empower bundles

16

17                       Constellation will have      additional resale products in its Empower

18   bundles. PX6040 (Dugan (Black Knight) Dep.) at 23:14-25:14, 28:12-29:1, 107:8-109:18.

19          169.    Constellation’s founder and president recognized that

20

21

22                                                        PX4189 (Constellation) at 1.

23          170.    Under the Commercial Agreement, Constellation will also rely on ICE to provide

24                                                    for the Resale Products, but ICE is only

25   obligated to provide these services for

26            PX4097 (Constellation) at 107-08; PX6029 (Wilhelm (Constellation) Dep.) at 110:21-

27   112:17; 124:4-125:9; PX6032 (George (Constellation) Dep.) at 83:17-22.

28          171.    The Commercial Agreement requires Constellation to rely on ICE in other ways


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                   27
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 33 of 56


1    to continue to sell Black Knight’s bundle:

2

3                                                              PX4097 (Constellation) at 101-02.

4           172.    Because ICE will retain these key Empower-integrated services, Constellation

5    and its customers will depend on ICE for

6    Id. at 100, 107, 122-27; PX6029 (Wilhelm (Constellation) Dep.) at 124:4-125:9; PX6032

7    (George (Constellation) Dep.) at 83:17-22; PX4097 (Constellation) at 100, 107, 122-27.

8           173.    Constellation executives recognize this arrangement represents

9

10                                             PX4138 (Constellation) at 5; PX4142 (Constellation) at 4

11

12      PX6032 (George (Constellation) Dep.) at 73:22-75:4, 76:14-25, 88:2-24.

13          174.    Further, the Commercial Agreement provides Constellation the ability to

14                                                                                       . PX4097

15   (Constellation) at 109.

16                                                                                   . Id.

17          175.    The resale fee provisions of the Commercial Agreement will also provide

18                                          to ICE regarding

19

20                                                                            . PX4097 (Constellation)

21   at 105; PX6062 (Wilhelm (Constellation) Dep. Vol. 2) at 230:6-15; PX6032 (George

22   (Constellation) Dep.) at 82:14-83:7; PX6047 (Sahi (ICE) Dep.) at 95:20-96:7.

23          176.    Constellation’s president of its mortgage product line

24

25                              and that ICE

26   PX4134 (Constellation) at 1.

27                             . PX6049 (Ryczek (Constellation) Dep.) at 114:8-23.

28          177.    The proposed divestiture further contemplates a Transition and Separation


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                     28
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 34 of 56


1    Services Agreement (“TSSA”) under which ICE would provide Constellation services to ensure

2    that Empower does not

3                         PX4097 (Constellation) at 135-177; PX6029 (Wilhelm (Constellation)

4    Dep.) at 99:14-20. These services include

5

6                                     PX6029 (Wilhelm (Constellation) Dep.) at 100:23-103:2,

7    103:25-106:9.

8           178.     One Constellation board member

9                    in a transition services agreement because

10                                         PX4104 (Constellation) at 1. The executive charged with

11   negotiating the Empower acquisition                                        . PX6029 (Wilhelm

12   (Constellation) Dep.) at 110:21-111:11.

13          179.     Constellation’s founder

14                                                     and that Constellation

15                                                     PX6062 (Wilhelm (Constellation) Dep. Vol. 2)

16   at 293:17-294:3; PX4099 (Constellation) at 1. The parties

17                                             PX6029 (Wilhelm (Constellation) Dep.) at 91:12-15;

18   PX6062 (Wilhelm (Constellation) Dep. Vol. 2) at 393:17-394:22.

19          180.     Bonnie Wilhelm,                                            , PX6062 (Wilhelm

20   (Constellation) Dep. Vol. 2) at 239:18-21, noted to her supervisor

21                                                                        because of

22                                                                              PX4107 (Constellation);

23   PX6029 (Wilhelm (Constellation) Dep.) at 193:23-195:10, 195:23-196:7.

24          181.     Constellation’s chief investment officer

25                                  which Wilhelm understood to mean that

26

27                          and to which she responded                                 PX4224

28   (Constellation) at 1; PX6062 (Wilhelm (Constellation) Dep. Vol. 2) at 258:7-259:25.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                   29
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 35 of 56


1           B.      The             Purchase Price of the Divestiture Assets Reflects

2                                                                                       —And

3                   Defendants Desired to

4           182.    Although ICE valued Empower at                                PX6042 (Clifton

5    (ICE) Dep.) at 212:14-22, and the amended merger agreement (accounting for divestiture of

6    Empower) reduces the purchase price by about $1.4 billion, PX1697 (ICE) at 2, Defendants

7    agreed to sell Empower and the other divestiture assets for                  PX6029 (Wilhelm

8    (Constellation) Dep.) at 72:17-20.

9           183.    Wilhelm quipped to another executive:

10   PX4224 (Constellation) at 1; PX6062 (Wilhelm (Constellation) Dep. Vol. 2) at 249:24-250:18.

11          184.                                                                            is one

12   consideration that resulted in Constellation offering

13               See, e.g., PX6029 (Wilhelm (Constellation) Dep.) at 48:11-19

14

15                                            , 58:2-3

16                                                                                  PX4222

17   (Constellation) at 1

18

19          185.    At a               purchase price, Constellation’s models showed that

20                                                                          PX6062 (Wilhelm

21   (Constellation) Dep. Vol. 2) at 223:23-224:7.

22          186.    Constellation

23                      PX6062 (Wilhelm (Constellation) Dep. Vol. 2) at 238:3-239:5; see also

24   PX6029 (Wilhelm (Constellation) Dep.) at 72:22-73:23

25

26          187.    Fundamentally, Defendants’ goal in marketing the divestiture assets was

27

28


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                      30
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 36 of 56


1                              . See PX4116 (Constellation) at 8; PX4219 (Constellation) at 1.

2           188.     Moreover, ICE instructed its investment bank to

3

4                  PX6054 (Hubbard (Truist) Dep.) at 68:22-69:19, 143:15-145:8; PX6061 (Hubbard

5    (Truist) Dep. Vol. II) at 167:4-171:9.

6           189.     Numerous persons at Constellation, including its board members, have expressed

7

8                       PX6029 (Wilhelm (Constellation) Dep.) at 109:3-112:17; PX6062 (Wilhelm

9    (Constellation) Dep. Vol. 2) at 287:1-25, 290:3-291:19, 296:13-305:5.

10          190.     Constellation’s founder and chairman of the board expressed

11

12                                                                     PX4288 (Constellation) at 2.

13          191.     And Constellation’s former chief financial officer

14

15                          PX4099 (Constellation) at 2.

16          192.     Indeed, the Empower acquisition would be

17

18               PX6062 (Wilhelm (Constellation) Dep. Vol. 2) at 342:2-11, 343:5-10; see also

19   PX6032 (George (Constellation) Dep.) at 65:2-21; PX4136 (Constellation) at 3.

20          193.                                         , Constellation’s “goal” is to

21

22                                            . PX6029 (Wilhelm (Constellation) Dep.) at 200:4-19.

23   Constellation has also considered

24                                       PX6032 (George (Constellation) Dep.) at 69:1-70:8.

25          194.     One Constellation executive

26                                                                                          —where

27   Encompass is particularly dominant. PX4133 (Constellation) at 1; PX6032 (George

28   (Constellation) Dep.) at 33:16-36:6; PX2316 (Black Knight) at 39.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                   31
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 37 of 56


1          FEDERAL TRADE COMMISSION’S PROPOSED CONCLUSIONS OF LAW

2           1.      Clayton Act § 7 prohibits mergers when “the effect of such acquisition may be

3    substantially to lessen competition, or to tend to create a monopoly.” 15 U.S.C. § 18.

4           2.      Section 7 analysis “necessarily focuses on ‘probabilities, not certainties.’” St.

5    Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys. Ltd., 778 F.3d 775, 783 (9th Cir.

6    2015) (quoting Brown Shoe Co. v. United States, 370 U.S. 294, 323 (1962)). This entails “‘a

7    prediction of [the merger’s] impact upon competitive conditions in the future; this is what is

8    meant when it is said that the amended § 7 was intended to arrest anticompetitive tendencies in

9    their incipiency.’” Id. (quoting United States v. Phila. Nat’l Bank, 374 U.S. 321, 362 (1963)).

10          3.      Section 5 of the FTC Act proscribes “[u]nfair methods of competition in or

11   affecting commerce.” 15 U.S.C. § 45(a)(1). An acquisition that violates § 7 of the Clayton Act,

12   by definition, is a violation of Section 5 of the FTC Act. See, e.g., FTC v. Ind. Fed’n of Dentists,

13   476 U.S. 447, 454 (1986).

14          4.      Section 13(b) of the Federal Trade Commission Act, 15 U.S.C. § 53(b),

15   authorizes the FTC, whenever it has reason to believe that a proposed merger is unlawful, to

16   seek preliminary injunctive relief to prevent consummation of a merger until the Commission

17   has the opportunity to adjudicate the merger’s legality in an administrative proceeding.

18          5.      Specifically, § 13(b) “allows a district court to grant the Commission a

19   preliminary injunction ‘[u]pon a proper showing that, weighing the equities and considering the

20   Commission’s likelihood of ultimate success, such action would be in the public interest.’” FTC

21   v. Affordable Media, LLC, 179 F.3d 1228, 1233 (9th Cir. 1999) (quoting 15 U.S.C. § 53(b)).

22          6.      The statute “places a lighter burden on the Commission than that imposed on

23   private litigants by the traditional equity standard.” FTC v. Warner Commc’ns Inc., 742 F.2d

24   1156, 1159 (9th Cir. 1984). “Under this more lenient standard, ‘a court must 1) determine the

25   likelihood that the Commission will ultimately succeed on the merits and 2) balance the

26   equities.’” Affordable Media, 179 F.3d at 1233 (quoting Warner Commc’ns, 742 F.2d at 1160).

27          7.      In weighing the equities under § 13(b), “public equities receive far greater

28   weight” than private equities. Warner Commc’ns, 742 F.2d at 1165.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                    32
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 38 of 56


1           8.       Public equities include effective enforcement of the antitrust laws and ensuring

2    the Commission’s ability to obtain adequate relief if it ultimately prevails on the merits. Id.

3           9.      Preliminary injunctions under § 13(b) “are meant to be readily available to

4    preserve the status quo while the FTC develops its ultimate case.” FTC v. Whole Foods Mkt.,

5    Inc., 548 F.3d 1028, 1036 (D.C. Cir. 2008); accord FTC v. Food Town Stores, Inc., 539 F.2d

6    1339, 1342 (4th Cir. 1976) (“The only purpose of a proceeding under § 13 is to preserve the

7    status quo until FTC can perform its function.”).

8           10.     The FTC has shown a likelihood of success on the merits of its § 7 challenge in

9    the administrative court, and the equities favor issuing a preliminary injunction.

10   I.     The FTC Is Likely to Succeed on the Merits of Its § 7 Challenge

11          11.     In evaluating the FTC’s likelihood of success on the merits, the Ninth Circuit has

12   explained that the FTC satisfies its burden if it raises questions on the merits “serious” enough

13   to make them “fair ground for thorough investigation, study, deliberation and determination by

14   the FTC in the first instance and ultimately by the Court of Appeals.” Warner Commc’ns, 742

15   F.2d at 1162 (quoting FTC v. Nat’l Tea Co., 603 F.2d 694, 698 (8th Cir. 1979)).

16          12.     “[A]t this preliminary phase [the FTC] just has to raise substantial doubts about a

17   transaction.” Whole Foods Mkt., Inc., 548 F.3d at 1036.

18          13.     The Court’s task “is not ‘to determine whether the antitrust laws have been or are

19   about to be violated.’” FTC v. CCC Holdings Inc., 605 F. Supp. 2d 26, 67 (D.D.C. 2009)

20   (quoting Whole Foods Mkt., 548 F.3d at 1042 (Tatel, J., concurring)). “That adjudicatory

21   function is vested in the FTC in the first instance.” Id.

22          14.     Rather, this Court is required only to consider the likelihood that “after an

23   administrative hearing . . . the Commission will succeed in proving that the effect of the

24   [proposed] merger ‘may be substantially to lessen competition, or to tend to create a monopoly’

25   in violation of section 7 of the Clayton Act.” FTC v. H.J. Heinz Co., 246 F.3d 708, 714 (D.C.

26   Cir. 2001) (quoting 15 U.S.C. § 18).

27          15.     “[A] section 7 violation is proven upon a showing of reasonable probability of

28   anticompetitive effect.” Warner Commc’ns, 742 F.2d at 1160.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                        33
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 39 of 56


1           16.     In the merits proceeding—the administrative proceeding—the FTC “must first

2    establish a prima facie case that a merger is anticompetitive.” St. Alphonsus, 778 F.3d at 783.

3           17.     The FTC may make this showing “by establishing that the merger would produce

4    a ‘firm controlling an undue percentage share of the relevant market, and results in a significant

5    increase in the concentration of firms in that market.’” United States v. Bazaarvoice, Inc., No.

6    13-CV-00133-WHO, 2014 WL 203966, at *64 (N.D. Cal. Jan. 8, 2014) (quoting Phila. Nat’l

7    Bank, 374 U.S. at 363). 3

8           18.     “Such a showing establishes a ‘presumption’ that the merger will substantially

9    lessen competition.” FTC v. Sysco Corp., 113 F. Supp. 3d 1, 23 (D.D.C. 2015) (quoting United

10   States v. Baker Hughes, Inc., 908 F.2d 981, 982 (D.C. Cir. 1990)).

11          19.     This presumption of illegality will be dispositive unless Defendants “clearly

12   show[]” that the Acquisition “is not likely to have such anticompetitive effects.” United States

13   v. Gen. Dynamics Corp., 415 U.S. 486, 497 (1974) (quoting Phila. Nat’l Bank, 374 U.S. at 363).

14          20.     If Defendants do make such a showing, the FTC may nevertheless carry its

15   burden by presenting “additional evidence of anticompetitive effect.” Bazaarvoice, Inc., 2014

16   WL 203966, at *64 (quoting H.J. Heinz Co., 246 F.3d at 715).

17          21.     Under § 13(b), the Court’s task is to assess the FTC’s likelihood of success in the

18   administrative proceeding under this burden-shifting framework. Sysco Corp., 113 F. Supp. 3d

19   at 22-23.

20          22.     Because the issue of whether the FTC has presented evidence to raise substantial

21   doubts about the Acquisition is a “narrow one,” the Court need not “resolve the conflicts in the

22   evidence, compare concentration ratios and effects on competition in other cases, or undertake

23   an extensive analysis of the antitrust issues.” Warner Commc’ns Inc., 742 F.2d at 1164.

24          23.     “[D]oubts are to be resolved against the transaction.” FTC v. Elders Grain, Inc.,

25   868 F.2d 901, 906 (7th Cir. 1989) (citing Phila. Nat’l Bank, 374 U.S. at 362-63).

26          24.     Although the standard at this preliminary stage requires only that the FTC raise

27   3
      Like other DOJ federal-court merger challenge cases cited herein, Bazaarvoice, Inc. was
28   decided after a full merits trial. 2014 WL 203966, at *2. Unlike the FTC, the DOJ does not house
     an adjudicatory and remedial function akin to that embedded in the FTC’s statutory construction.

     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                     34
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 40 of 56


1    “substantial doubts” about the Acquisition, the evidence here indicates that the Acquisition (1)

2    may substantially lessen competition in both the commercial LOS and broader all-LOS markets

3    by combining the two dominant LOSs in the United States; (2) may substantially lessen

4    competition in the markets for PPEs for Encompass users and all PPEs by combining ownership

5    of the two leading PPEs in the United States; and (3) by cementing ICE’s dominant LOS and

6    PPE position, will likely increase ICE’s ability and incentive to disadvantage competing PPE

7    providers who depend upon access to Encompass to serve their own customers.

8           25.     Defendants thus cannot “clearly show” that the Acquisition “is not likely to have

9    such anticompetitive effects,” see Gen. Dynamics Corp., 415 U.S. at 497, let alone dispel the

10   “substantial doubts” raised by the ample evidence. See Whole Foods Mkt., 548 F.3d at 1036.

11          26.     The FTC is thus likely to succeed at the administrative hearing in proving that

12   the effect of the Acquisition may be substantially to lessen competition or to tend to create a

13   monopoly.

14          A.      The Acquisition Is Presumptively Illegal and Likely to Cause

15                  Anticompetitive Effects in the Markets for Commercial LOSs and All LOSs

16          1. Commercial LOSs and All LOSs Are Relevant Product Markets

17          27.     The Supreme Court has recognized that § 7 prohibits acquisitions that may

18   “substantially lessen competition within the area of effective competition.” Brown Shoe, 370

19   U.S. at 324 (quoting United States v. E.I. du Pont de Nemours & Co., 353 U.S. 586, 593 (1957)

20   (internal quotations omitted).

21          28.     To determine the “area of effective competition,” courts “reference . . . a product

22   market (the ‘line of commerce’) and a geographic market (the ‘section of the country’).” Brown

23   Shoe Co., 370 U.S. at 324.

24          29.     At the § 13(b) preliminary injunction stage, the FTC need not prove the exact

25   delineations of a market, and rather must only “rais[e] some question of whether [the candidate

26   market] is a well-defined market.” Whole Foods Mkt., Inc., 548 F.3d at 1036-37, 1041.

27          30.     A relevant product market consists of “products that have reasonable

28   interchangeability for the purposes for which they are produced—price, use and qualities


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                    35
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 41 of 56


1    considered.” du Pont, 351 U.S. at 404.

2           31.      In defining relevant product markets, courts evaluate “such practical indicia as

3    industry or public recognition of the [relevant market] as a separate economic entity, the

4    product’s peculiar characteristics and uses, unique production facilities, distinct customers,

5    distinct prices, sensitivity to price changes, and specialized vendors.” Brown Shoe Co. 370 U.S.

6    at 325; accord, e.g., FTC v. Meta Platforms Inc., No. 5:22-CV-04325-EJD, 2023 WL 2346238,

7    at *9 (N.D. Cal. Feb. 3, 2023). Relevant markets “can exist even if only some of these [Brown

8    Shoe] factors are present.” FTC v. Staples, Inc., 970 F. Supp. 1066, 1075 (D.D.C. 1997).

9           32.      Courts also can look to quantitative evidence of interchangeability derived from

10   the hypothetical monopolist test. E.g., Sysco Corp., 113 F. Supp. 3d at 27, 33-34.

11          33.      In this case, the Brown Shoe practical indicia and hypothetical monopolist test

12   both reflect that markets comprising (1) commercial LOSs and (2) all LOSs are appropriate

13   product markets in which to evaluate the Acquisition.

14          34.      Commercial LOSs, and LOSs more generally, exhibit several of the Brown Shoe

15   factors, see supra FOF ¶¶ 15-31.

16          a. Peculiar characteristics and uses. Lenders rely on LOSs as their system of record

17                and to coordinate their workflows with the many ancillary services they use in

18                connection with loan origination. PX6046 (Tyrrell (ICE) Dep.) at 17:20-18:9, 23:4-

19                13; PX6047 (Sahi (ICE) Dep.) at 25:7-26:4. No other software serves the same

20                purpose. PX6043 (          (Polly) Dep.) at 115:23-117:17.

21          b. Industry recognition.                                                , routinely

22                recognize LOSs as a distinct market in the ordinary course of their business. E.g.,

23                PX2525 (Black Knight) at 7; PX1706 (ICE) at 2.

24          c. Specialized vendors and unique production facilities. Firms such as ICE and Black

25                Knight specialize in developing, optimizing, and maintaining LOSs. E.g., PX2523

26                (Black Knight) at 3; PX6046 (Tyrrell (ICE) Dep.) at 128:18-132:19.

27          d. Distinct customers.                            rely on commercial LOSs, rather than

28                proprietary LOSs. PX2022 (Black Knight) at 8. In practical terms, that


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                       36
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 42 of 56


1                                   rely on commercial LOSs reflects that these customers have

2                 unique needs and preferences satisfied by commercial LOSs. See, e.g., Whole Foods

3                 Mkt., 548 F.3d at 1037-40 (“In short, a core group of particularly dedicated distinct

4                 customers paying distinct prices may constitute a recognizable submarket.”).

5           35.      Further, both the commercial LOS market and the broader market for all LOSs

6    satisfy the hypothetical monopolist test.

7           36.      This test asks whether a hypothetical monopolist of products within a proposed

8    market could profitably impose a small but significant and nontransitory increase in price

9    (“SSNIP”). Merger Guidelines § 4.1.1; see also Theme Promotions, Inc. v. News Am. Mktg. FSI,

10   546 F.3d 991, 1002 (9th Cir. 2008); Bazaarvoice, Inc., 2014 WL 203966, at *28.

11          37.      As discussed in the expert report of Dr. Sacher, because of the challenges

12   associated with developing and operating a proprietary LOS, a SSNIP by a hypothetical

13   monopolist of commercial LOSs would not be defeated by lenders switching to proprietary

14   LOSs. PX8000 (Sacher (FTC) Rep.) ¶¶ 154-59.

15          38.      Consistent with this conclusion, ICE’s Encompass LOS has maintained a

16                         , PX1711 (ICE) at 5; PX2319 (Black Knight) at 7, despite

17                                               . E.g., PX6046 (Tyrrell (ICE) Dep.) at 36:17-24;

18   PX1096 (ICE) at 13.

19          39.      Similarly, because mortgage lenders lack an adequate substitute for LOSs, a

20   hypothetical monopolist of LOSs could profitably impose a SSNIP, thus the broader market for

21   all LOSs constitutes a relevant antitrust market. PX8000 (Sacher (FTC) Rep.) ¶¶ 129-146.

22          2. The Acquisition Creates a Presumptively Illegal Increase in Concentration in

23                the Relevant LOS Product Markets

24          40.      In assessing a proposed merger’s effects on competition, courts commonly

25   employ a statistical measure of market concentration called the Herfindahl-Hirschman Index

26   (“HHI”). “Mergers that increase the HHI more than 200 points and result in highly concentrated

27   markets are ‘presumed to be likely to enhance market power.’ Sufficiently large HHI figures

28   establish the FTC’s prima facie case that a merger is anti-competitive.” St. Alphonsus, 778 F.3d


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                     37
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 43 of 56


1    at 786 (quoting Merger Guidelines § 5.3 and H.J. Heinz, 246 F.3d at 716).

2           41.      Based on HMDA data and Defendants’ own documents, the Acquisition will

3    result in an HHI of at least        and an increase of at least        points in the commercial LOS

4    market. PX8000 (Sacher (FTC) Rep.) Tables 11-12.

5           42.      In the broader all-LOS market, the Acquisition will result in an HHI of at least

6          and an increase of at least      points. Id. at Tables 9-10.

7           43.      In both markets, the Acquisition therefore leads to a highly concentrated market

8    and a presumption of illegality. See St. Alphonsus, 778 F.3d at 786; Merger Guidelines § 5.3.

9           3. There Is a Reasonable Probability that the Acquisition Will Result in

10                Anticompetitive Effects in the Relevant LOS Product Markets

11          44.      The presumption of illegality based on market concentration for the relevant

12   LOS product markets is reinforced by ample evidence demonstrating that the Acquisition will

13   eliminate head-to-head LOS competition that benefits Defendants’ customers today. See, e.g.,

14   FTC v. Hackensack Meridian Health, Inc., 30 F.4th 160, 173 (3d. Cir. 2022).

15          45.      Black Knight’s former CEO and current chairman described Encompass

16   developer Ellie Mae, just prior to its 2020 acquisition by ICE, as

17                                                              PX2033 (Black Knight) at 19; see also

18   PX6033 (Larsen (Black Knight) Dep.) at 39:21-40:7; PX6053 (Eagerton (Black Knight) Dep.)

19   at 105:19-106:5; supra FOF ¶¶ 65-72.

20          46.      The combination of ICE and Black Knight will eliminate this direct, frequent,

21   head-to-head competition to provide                                          for their LOS

22   customers. See supra FOF ¶¶ 75-86.

23          47.      The diminished competitive pressure on ICE post-Acquisition also will allow it

24   to act more freely on                                                    . See supra FOF ¶¶ 85-93.

25          48.

26                                                                     . E.g., PX6038         (Mutual of

27   Omaha) Dep.) at 71:8-18, 92:10-93:12, 99:18-101:2; PX7001 (                 (Mutual of Omaha) Nov.

28   10, 2022 Decl.) ¶ 14; PX6069 (          (loanDepot) Dep.) at 106:3-107:5; PX7003 (


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                     38
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 44 of 56


1    (loanDepot) Nov. 14, 2022 Decl.) ¶ 15; PX6051                 (Impac) Dep.) at 28:9-29:14;

2    PX6035 (             (Umpqua) Dep.) at 121:10-20 (discussing PX4154 (Umpqua) at 1).

3           49.       In sum, the Acquisition is presumptively illegal because of the increase in

4    concentration in the commercial LOS and all LOS markets. Beyond this presumption, the

5    Acquisition will eliminate head-to-head LOS competition that directly benefits Defendants’

6    customers today.

7           B.        The Acquisition Is Presumptively Illegal and Reasonably Likely to Cause

8                     Anticompetitive Effects in the Relevant PPE Product Markets

9           1. PPEs for Encompass Users and All PPEs Are Relevant Product Markets

10          50.       “[A]ntitrust markets can be based on targeted customers.” FTC v. Wilh.

11   Wilhelmsen Holding ASA, 341 F. Supp. 3d 27, 46 (D.D.C. 2018).

12          51.       Moreover, “[t]wo products that are differentiated from one another may

13   nonetheless compete.” E.g., United States v. Cont’l Can Co., 378 U.S. 441, 449-53 (1964).

14          52.       The markets for PPEs for Encompass users and all PPEs both exhibit multiple

15   Brown Shoe practical indicia, see supra FOF ¶¶ 36-52:

16          a. Peculiar characteristics and uses. Mortgage lenders use PPEs to determine how to

17                price a mortgage and to lock the mortgage. PX6035 (             (Umpqua) Dep.) at

18                20:9-21:1; PX6038 (          (Mutual of Omaha) Dep.) at 19:22-20:3; PX6021

19                (Lyons (ICE) Dep.) at 47:22-48:18. No other product performs this service. PX6043

20                (        (Polly) Dep.) at 117:3-17.

21          b. Industry recognition.                                                           PPEs as a

22                distinct product. See PX6035 (           (Umpqua) Dep.) at 122:25-123:19; PX7007

23                (          (Umpqua) Feb. 14, 2023 Decl.) ¶ 7 (

24                                                                              PX6007 (          (Lender

25                Price) IH) at 27:21-30:5

26                                                                                31:18-32:13; PX1166

27                (ICE) at 42; PX2259 (Black Knight) at 8.

28


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                     39
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 45 of 56


1                                                                           . PX1640 (ICE) at 8.

2           c. Distinct customers. Mortgage lenders constitute distinct customers who use PPEs.

3                 Further, these lenders

4                                                                       PX1698 (ICE) at 3-5. Users of

5                 Encompass thus are a distinct set of customers for PPEs on the Encompass LOS.

6           d. Specialized vendors. PPEs integrated with Encompass thus exhibit peculiar

7                 characteristics and uses—namely offering the functionality of a PPE and integration

8                 with Encompass—and are furnished by a limited selection of specialized vendors

9                 integrated with Encompass, which supports a finding that PPEs for users of

10                Encompass constitute a relevant product market.

11          53.      The hypothetical monopolist test confirms that PPEs for Encompass users

12   constitute a relevant product market: In the event of a SSNIP for PPEs for Encompass users,

13   lenders would not switch to alternative LOSs, PPEs not integrated with Encompass, or other

14   methods of performing the origination-related functions for which they use PPEs in sufficient

15   volumes to render the price increase unprofitable. PX8000 (Sacher (FTC) Rep.) ¶¶ 202-215.

16          54.      Likewise, in the event of a SSNIP on all PPEs by a hypothetical monopolist,

17   lenders would not switch to alternate methods of pricing and locking loans in sufficient numbers

18   to render the price increase unprofitable. Id. ¶ 201.

19          2. The Acquisition Creates a Presumptively Illegal Increase in Concentration in

20                the Relevant PPE Product Markets

21          55.      “[A] merger which significantly increases the share and concentration of firms in

22   the relevant market is ‘so inherently likely to lessen competition’ that it must be considered

23   presumptively invalid and enjoined in the absence of clear evidence to the contrary.” FTC v.

24   Cardinal Health, Inc., 12 F. Supp. 2d 34, 52 (D.D.C. 1998) (quoting Phila. Nat’l Bank, 374

25   U.S. at 363).

26          56.      In Philadelphia National Bank, the Supreme Court wrote: “Without attempting

27   to specify the smallest market share which would still be considered to threaten undue

28   concentration, we are clear that 30% presents that threat.” 374 U.S. at 364.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                    40
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 46 of 56


1           57.       The PPE market shares at issue take this case well beyond the thresholds

2    discussed in Philadelphia National Bank, and lead to a clear presumption of illegality.

3           58.       These shares result in a combined post-Acquisition market share of          with an

4    HHI over          and an increase of more than         points (PX8000 (Sacher (FTC) Rep.) Table

5    15), far in excess of the thresholds that create a presumption of enhanced market power and

6    illegality. See St. Alphonsus, 778 F.3d at 786, 788; Merger Guidelines § 5.3.

7           59.       The same is true of the broader market for all PPEs, where Black Knight

8    estimates that its Optimal Blue boasts a         market share. PX2311 (Black Knight) at 5.

9           60.       Although EPPS is                                          , Encompass’s

10   dominance combined with

11                       even in an all-PPE market. PX1166 (ICE) at 42.

12          61.       Defendants’ combined post-Acquisition all-PPE market share thus significantly

13   exceeds the combined shares found sufficient to trigger a presumption of undue concentration

14   and illegality under Philadelphia National Bank and its progeny.

15          3. There Is a Reasonable Probability that the Acquisition Will Result in

16                 Anticompetitive Effects in the Relevant PPE Product Markets

17                    a) The Acquisition Will Eliminate Head-to-Head PPE Competition

18                       Between ICE and Black Knight

19          62.       The Acquisition also is likely to violate § 7 because it will eliminate significant,

20   head-to-head PPE competition that benefits Defendants’ customers today and which has

21   resulted in               and other value for lenders. See also supra FOF ¶¶ 102-118.

22          63.                                                analyzed by the FTC’s economic expert

23                                                                                                         .

24   PX8000 (Sacher (FTC) Rep.) ¶¶ 433-37.

25          64.                                        , the FTC’s expert, Dr. Sacher, modeled that PPE

26   prices for Encompass users may increase                     post-Acquisition due to the elimination

27   of competition between EPPS and Optimal Blue, depending on the methodology and

28   assumptions applied. Id. ¶¶ 32-38.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                       41
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 47 of 56


1            65.     The loss of competitive pressure on ICE has already manifested in

2                                                                                           illustrates the

3                      competition already lost due to the Acquisition. See supra FOF ¶¶ 113-123.

4            66.     Moreover,

5

6                                                                                                         .

7    PX1100 (ICE) at 4; PX6046 (Tyrrell (ICE) Dep.) at 141:20-142:13 (discussing PX1100 (ICE)).

8            67.     In light of the evidence of head-to-head PPE competition that will cease to exist

9    post-Acquisition, coupled with

10                  Defendants will not be able to overcome the presumption of competitive harm

11   from the consolidation of the markets for PPEs for Encompass users and all PPEs.

12                   b) The Acquisition Will Likely Increase ICE’s Ability and Incentive to

13                       Foreclose Competition from Other PPE Providers

14           68.     As the Supreme Court has explained, “[t]he primary vice of a vertical merger . . .

15   is that, by foreclosing the competitors of either party from a segment of the market otherwise

16   open to them, the arrangement may act as a clog on competition, . . . which deprives rivals of a

17   fair opportunity to compete.” Brown Shoe Co., 370 U.S. at 323-24 (cleaned up).

18           69.     Complete foreclosure is not required for a merger to run afoul of the Clayton

19   Act. See id. at 323 n.39 (explaining that goal of § 7 is “to arrest restraints of trade in their

20   incipiency”). “Such foreclosure may be achieved by increasing prices, withholding or degrading

21   access, reducing service or support, or otherwise increasing the costs or reducing the efficiency

22   or efficacy” of rival products. In re Illumina, Inc., No. 9401, 2023 WL 2823393, at 32 (FTC

23   Mar. 31, 2023).

24           70.     “Case law provides two different . . . standards for evaluating the likely effect of

25   a vertical transaction.” In re Illumina, Inc., 2023 WL 2823393, at *32. Courts may evaluate a

26   vertical transaction through a set of factors discussed by the Supreme Court in Brown Shoe Co.,

27   370 U.S. at 328-34. More recently, “courts . . . have focused on whether a transaction is likely

28   to increase the ability and/or incentive of the merged firm to foreclose rivals.” In re Illumina,


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                         42
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 48 of 56


1    Inc., 2023 WL 2823393, at *33.

2           71.     Factors discussed by the Supreme Court in Brown Shoe Co. to assess the effects

3    of a vertical merger include any “trend toward concentration in the industry” and entry barriers,

4    among others. 370 U.S. at 328-34; Ford Motor Co., 405 U.S. at 566-70; see also In re Illumina,

5    Inc., 2023 WL 2823393, at *33.

6           72.     The multifactor analysis of Brown Shoe is not a “precise formula[],” and not

7    every factor must be present or even considered for a finding of liability. In re Illumina, Inc.,

8    2023 WL 2823393, at *33; see Ford Motor Co., 405 U.S. at 566-71 (affirming finding of

9    illegality and considering trend of concentration, amount of foreclosure, and barriers to entry).

10          73.     The ability and incentive analysis focuses “on whether a transaction is likely to

11   increase the ability and/or incentive of the merged firm to foreclose rivals.” In re Illumina, Inc.,

12   2023 WL 2823393, at *33.

13          74.     Satisfying both the Brown Shoe and ability and incentive standards is not

14   required to find liability—either method can provide the basis for a liability determination. See

15   In re Illumina, Inc., 2023 WL 2823393, at *33.

16          75.     Here, there is a “trend toward concentration in the industry.” Brown Shoe Co.,

17   370 U.S. at 332-33; supra FOF ¶ 95; cf. Warner Commc’ns Inc., 742 F.2d at 1162–63 (listing

18   “industry trends toward concentration, the degree of concentration within the industry, prior

19   mergers by the firms in question and the barriers to entry in the industry” among “[f]actors to

20   consider when determining the impact on competition” in case involving horizontal merger).”

21          76.     The Acquisition also would increase entry barriers in the relevant PPE product

22   markets. See Ford Motor Co., 405 U.S. at 568-72; supra FOF ¶¶ 53-57, 145-48.

23          77.     Moreover, the Acquisition may substantially lessen competition in the relevant

24   PPE markets by increasing ICE’s ability and incentive to disadvantage competing third-party

25   PPE providers. In re Illumina, Inc., 2023 WL 2946882 at *35, *39-43.

26          78.     PPEs depend on LOS integration to automate and enable aspects of PPE

27   functionality, and

28                   . Supra FOF ¶¶ 46-52.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                     43
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 49 of 56


1           79.     Third-party PPE providers integrated with Encompass today

2                                         . PX6043 (         (Polly) Dep.) at 85:18-88:1; PX6007

3           (Lender Price) IH) at 176:11-25, 181:1-12; see also supra FOF ¶¶ 46-52, 134-37.

4           80.     After acquiring Black Knight and Optimal Blue, however, ICE’s

5                                                                    , freeing ICE to disadvantage

6    competing PPEs that rely on integration with Encompass. See supra FOF ¶¶ 141-42, 146-48.

7           81.     ICE currently possesses the technical ability to disadvantage competing PPEs

8    integrated with Encompass. See supra FOF ¶¶ 134-144. ICE also has contractual levers to

9    disadvantage competing PPEs who rely on Encompass integration. Supra id. ¶¶ 127-133.

10          82.     By eliminating Black Knight’s Optimal Blue as a competitive threat, however,

11   the Acquisition will remove the current competition that has motivated ICE to collaborate

12                    . See supra id. ¶¶ 141-42.

13          83.     The Acquisition will also amplify ICE’s financial incentives to disadvantage

14   competing Encompass-integrated PPEs. See supra id. ¶¶ 145-48.

15          84.     Because of Optimal Blue’s                   share among Encompass users, after

16   the Acquisition ICE will stand to recapture via Optimal Blue                             of

17   business lost by competing PPE providers as a result of any foreclosure or other disadvantages

18   that ICE may inflict. PX8000 (Sacher (FTC) Rep.) ¶¶ 494-505; see also supra FOF ¶¶ 145-48.

19          85.     When a third-party PPE’s customer switches to Optimal Blue after the

20   Acquisition, ICE will realize                       associated with the customer’s PPE use.

21   Because ICE will stand to gain a larger proportion of third-party PPE providers’ lost business

22   and revenue after the Acquisition, its incentive to disadvantage those PPE competitors will

23   increase. PX8000 (Sacher (FTC) Rep.) ¶ 505; see also supra FOF ¶¶ 145-48.

24          C.      Defendants Cannot Rebut Plaintiff’s Prima Facie Case

25          86.     Under the § 7 burden-shifting framework, once the FTC establishes its prima

26   facie case, the burden shifts to Defendants to rebut that case. St. Alphonsus, 778 F.3d at 783.

27          1. Defendants Cannot Demonstrate that the Divestiture Will Restore Competition

28          87.     When a merger violates § 7, an injunction prohibiting the merger is the “default


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                    44
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 50 of 56


1    remedy.” In re Illumina, Inc., 2023 WL 2946882, at *53; see also du Pont, 366 U.S. at 329

2    (“The very words of § 7 suggest that an undoing of the acquisition is a natural remedy.”).

3           88.     Further, “it is well settled that once the Government has successfully borne the

4    considerable burden of establishing a violation of the law, all doubts as to the remedy are to be

5    resolved in its favor.” St. Alphonsus, 778 F.3d at 793 (quoting du Pont, 366 U.S. at 334).

6           89.     The HSR Act requires merging parties to file notification of transactions

7    exceeding certain thresholds. 15 U.S.C. § 18a. In enacting the HSR Act, one goal of Congress

8    was to give the FTC advance notice of an impending merger, to provide a “meaningful chance

9    to carry its burden of proof, and win a preliminary injunction against a merger that appears to

10   violate [Clayton Act] section 7.” H.R. Rep. No. 94-1373, at 8 (1976).

11          90.     Some courts thus recognize that when merging parties propose a divestiture to

12   address antitrust concerns, they are proposing a solution to problems created by the merger

13   rather than a wholly new transaction, and thus bear the burden of showing the divestiture will

14   restore competition. See United States v. Aetna Inc., 240 F. Supp. 3d 1, 59-60 (D.D.C. 2017).

15          91.     At the administrative proceeding, consideration of a remedy generally comes

16   only after a determination of the reasonably likely competitive effects of the Acquisition. In re

17   Illumina, Inc., 2023 WL 2946882, at *51.

18          92.     While some courts have inquired into the merits of a divestiture at the rebuttal

19   stage of the § 7 burden-shifting analysis, see id. at *60, under either approach, Defendants bear

20   the heavy burden to establish that their proposed divestiture would “‘restore competition,’

21   ‘eliminate the effects’ of the Acquisition, and replace the lost competitive intensity.” Id. at *53

22   (quoting Ford Motor Co., 405 U.S. at 573 & n.8); accord Staples, 190 F. Supp. 3d at 137 n.15.

23          93.     “Restoring competition requires replacing the competitive intensity lost as a

24   result of the merger rather than focusing narrowly on returning to premerger HHI levels.” Sysco

25   Corp., 113 F. Supp. 3d at 72 (quoting Antitrust Div., U.S. Dep’t of Justice, Antitrust Division

26   Policy Guide to Merger Remedies 5 (2004)).

27          94.     To assess whether merging parties have met their burden to show that a remedy

28   will restore competition, courts consider factors including whether a divestiture transfers an


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                     45
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 51 of 56


1    intact business or a “lesser set of assets,” results in continuing entanglement between the seller

2    and divestiture buyer, or involves a low purchase price. Aetna, 240 F. Supp. 3d at 60, 72-73.

3           95.     Defendants will not be able to make the required showing in the Administrative

4    Proceeding that the proposed divestiture will restore competition.

5           96.     First, Defendants’ proposed divestiture fails outright as a remedy because it does

6    not address the anticompetitive harms the Acquisition likely will cause in the markets for PPEs

7    for Encompass users and for all PPEs. As explained above, the Acquisition is likely to result in

8    competitive harms in these PPE markets largely as a result of ICE’s acquisition of Black

9    Knight’s Optimal Blue PPE. Supra COL ¶¶ 55-85. The proposed divestiture, however, does not

10   include Optimal Blue. Supra FOF ¶ 162.

11          97.     Second, because Constellation would receive only a fragment of Black Knight’s

12   business, the divestiture would fail to replace the competitive intensity lost as a result of the

13   Acquisition. Although Constellation would acquire some of the Black Knight services

14   integrated with Empower through the divestiture, it would rely on contracts with ICE to provide

15   the remainder, including the industry-leading Optimal Blue PPE. See supra FOF ¶¶ 165-69.

16   Constellation will be unable to offer the single point of contact for pricing, contracts, and

17   vendor management that Black Knight                                                    . See id. ¶¶

18   170-74. Between its diminished flexibility to                                and its inability to

19   provide lenders the convenience of a single point of contact, Constellation will be unable to

20   replicate Black Knight’s current competitive intensity.

21          98.     Third, Defendants’ proposed divestiture also is fundamentally flawed because it

22   would create myriad contractual entanglements between ICE and Constellation                  . Supra

23   id. ¶¶ 165-181. “Courts are skeptical of a divestiture that relies on a ‘continuing relationship

24   between the seller and buyer of divested assets’ because that leaves the buyer susceptible to the

25   seller’s actions—which are not aligned with ensuring that the buyer is an effective competitor.”

26   Aetna, 240 F. Supp. 3d at 60 (quoting Sysco Corp., 113 F. Supp. 3d at 77).

27          99.     As part of the proposed divestiture, Defendants and Constellation contemplate

28   executing an array of ongoing agreements. Of particular concern, Constellation will depend on a


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                      46
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 52 of 56


1    Commercial Agreement with ICE to provide its customers with many Empower-integrated

2    services that Black Knight owns today but that ICE will own after the Acquisition, including

3    Optimal Blue. PX4097 (Constellation) at 100, 117-19. Supra FOF ¶¶ 165-69.

4           100.    Constellation executives have acknowledged that these agreements will

5                                 (PX4138 (Constellation) at 5) and

6                                                   PX6032 (George (Constellation) Dep.) at 76:14-

7    25, 88:18-24; PX4142 (Constellation) at 4

8                                                                     PX4224 (Constellation) at 1 (after

9    the deal closes, Constellation will be                                PX6062 (Wilhelm

10   (Constellation) Dep. Vol. 2) at 253:22-256:2 (same).

11                                                                                  . PX4097

12   (Constellation) at 105 §§ 9.5-9.6; PX6032 (George (Constellation) Dep.) at 82:14-83:7.

13          101.    In this case, a divestiture so likely to ensure that the buyer never becomes a

14   credible competitive threat should not be endorsed. Sysco Corp., 113 F. Supp. 3d at 77-78.

15   Indeed, the court in Sysco Corp. rejected                                                             ,

16   finding that ongoing entanglement between the merged company and divestiture buyer rendered

17   them “not . . . truly independent.” Id.; accord CCC Holdings Inc., 605 F. Supp. 2d at 59 (it is a

18   “problem” to allow “continuing relationships between the seller and buyer of divested assets

19   after divestiture, such as a supply arrangement or technical assistance requirement, which may

20   increase the buyer’s vulnerability to the seller’s behavior”).

21          102.    Fourth, the          purchase price of the divestiture assets reflects

22                                                                    . See supra FOF ¶¶ 182-194. “An

23   extremely low purchase price reveals the divergent interest between the divestiture purchaser

24   and the consumer: an inexpensive acquisition could still ‘produce something of value to the

25   purchaser’ even if it does not become a significant competitor and therefore would not ‘cure the

26   competitive concerns.’” Aetna, 240 F. Supp. 3d at 72 (quoting Antitrust Div., U.S. Dep’t of

27   Justice, Policy Guide to Merger Remedies 9 (2011)).

28          103.    Constellation has agreed to pay                      for Empower and the


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                      47
             Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 53 of 56


1    divestiture assets, though                                                         (PX6032

2    (George (Constellation) Dep.) at 29:19-22; PX6042 (Clifton (ICE) Dep.) at 212:14-22), and the

3    amended merger agreement (accounting for divestiture of Empower) reduces the purchase price

4    by about $1.4 billion (PX1697 (ICE) at 2).

5

6                                                                         . Supra FOF ¶¶ 182-194.

7            104.

8

9                                                                  . PX6032 (George (Constellation)

10   Dep.) at 69:1-70:8.

11

12                                                              Aetna, 240 F. Supp. 3d at 72, and thus

13   the divestiture is unlikely to restore lost competition. See id.

14           2. Defendants Cannot Demonstrate that Entry Will Be Timely, Likely, and

15               Sufficient to Counteract the Acquisition’s Anticompetitive Effects

16           105.    Defendants also cannot rebut the FTC’s prima facie case by showing that entry

17   will be timely, likely, and sufficient to counteract the competitive harms of the Acquisition. See

18   Bazaarvoice, 2014 WL 203966, at *71.

19           106.    LOS and PPE markets are characterized by high barriers to entry. Black Knight

20   itself has estimated that to develop a new commercial LOS would cost at least                  and

21   take at least           . PX0021 (Black Knight) at 95-97; see also supra FOF ¶¶ 32.

22           107.    Any LOS entrant or existing provider seeking to reposition also must overcome

23   lenders’ high switching costs, lengthy switching timelines, and general reluctance to switch to

24   untested LOSs. E.g., PX1158 (ICE) at 4-6; PX8000 (Sacher (FTC) Rep.) ¶¶ 567-69, 575-80; see

25   also supra FOF ¶¶ 33-35.

26           108.    New entry or repositioning of PPEs is similarly unlikely. Supra FOF ¶¶ 53-57.

27           3. Defendants Fail to Establish Cognizable, Merger-Specific Efficiencies that

28               Outweigh the Acquisition’s Anticompetitive Effects


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                    48
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 54 of 56


1           109.      The “Supreme Court has never expressly approved an efficiencies defense to a §

2    7 claim,” and the Ninth Circuit “remain[s] skeptical about the efficiencies defense in general

3    and about its scope in particular.” St. Alphonsus, 778 F.3d at 788-90.

4           110.      To the extent efficiencies supply any defense of an otherwise anticompetitive

5    transaction, the burden would be on Defendants to “clearly demonstrate” proof of

6    “extraordinary efficiencies” that are merger-specific and verifiable. Id. at 790-91.

7           111.      Here, ICE has claimed a shifting set of loosely defined efficiencies of varying

8    amounts that fail to satisfy the applicable standard. See supra FOF ¶¶ 150-161.

9           112.      Joe Tyrrell, former President of ICE’s Mortgage Technology division, stated

10   much of the basis for                                        PX6046 (Tyrrell (ICE) Dep.) at

11   158:24-159:6,                                                 Id. at 162:6-9. And ICE’s analysis of

12                    is only a

13                                PX6034 (Jackson (ICE) Dep.) at 120:19-121:18.

14          113.      These              and                    do not clearly demonstrate proof of

15   extraordinary, merger-specific, verifiable efficiencies.

16          4. The Constitutional Affirmative Defenses Are Irrelevant to the § 13(b) Inquiry

17          114.      Defendants have raised various affirmative defenses concerning the FTC’s

18   process and powers.

19          115.      As one court in this District concluded, it follows from the limited scope of the

20   inquiry in a § 13(b) case that determining the likelihood of success “on the merits” means

21   determining “the action’s Section 7 antitrust merits, as distinguishable from any procedural due

22   process issues arising from the FTC’s proceedings.” FTC v. Meta Platforms Inc., No. 5:22-CV-

23   04325-EJD, 2022 WL 16637996, at 6 (N.D. Cal. Nov. 2, 2022).

24          116.      Indeed, the “oft-cited standard for ‘likelihood of ultimate success’ describes

25   merits questions [in a § 13(b) proceeding] as those that would require ‘thorough investigation,

26   study, deliberation, and determination by the FTC,’ a characterization that is consistent with a

27   ‘preliminary assessment of a merger’s impact on competition.’” Id. at *6 (quoting Warner, 742

28   F.2d at 1162).


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                        49
            Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 55 of 56


1           117.    Accordingly, affirmative defenses arising out of alleged procedural defects (even

2    constitutional procedural defects) are not pertinent to deciding whether to grant preliminary

3    relief pursuant to § 13(b) of the Federal Trade Commission Act. See id. at *7. (“[T]o the extent

4    Defendants’ constitutional defenses are predicated on . . . bias or procedural deficiencies, these

5    defenses would likewise be stricken without leave to amend.”).

6    II.    The Equities Support a Preliminary Injunction

7           118.    Under § 13(b), this Court must also “balance the equities.” Warner Commc’ns,

8    742 F.2d at 1165. If the FTC has shown a likelihood of success, “a countershowing of private

9    equities alone does not justify denial of a preliminary injunction.” Id.

10          119.    The “principal public equity” favoring a preliminary injunction is “the public

11   interest in effective enforcement of the antitrust laws.” H.J. Heinz, 246 F.3d at 726.

12          120.    Without preliminary relief, the Commission may face the “daunting and

13   potentially impossible task” of “unscrambling the eggs” if the Acquisition is deemed unlawful.

14   FTC v. Peabody Energy Corp., 492 F. Supp. 3d 865, 918 (E.D. Mo. 2020) (quoting Sysco, 113

15   F. Supp. 3d at 87). As such, “[n]o court has denied relief to the FTC in a 13(b) proceeding in

16   which the FTC has demonstrated a likelihood of success on the merits.” FTC v. ProMedica

17   Health Sys., Inc., No. 3:11-CV-47, 2011 WL 1219281, at *60 (N.D. Ohio Mar. 29, 2011).

18          121.    Defendants’ consideration of how long they will wait to merge is a private

19   concern outweighed by public interests in effective enforcement of the antitrust laws. E.g., Wilh.

20   Wilhelmsen Holding, 341 F. Supp. 3d at 74. Such private concerns receive “little weight” in

21   § 13(b) proceedings, to avoid undermining the statute’s “purpose of protecting the ‘public-at-

22   large, rather than individual private competitors.’” FTC v. Univ. Health, Inc., 938 F.2d 1206,

23   1225 (11th Cir. 1991) (quoting Nat’l Tea Co., 603 F.2d at 697 n.4).

24          122.    On the other hand, allowing Defendants to merge could prevent the FTC from

25   ordering relief to preserve competition and enforce the antitrust laws were it to prevail in the

26   administrative proceeding.

27          123.    Here, the equities support entry of a preliminary injunction pending resolution of

28   the administrative proceeding.


     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                                    50
           Case 3:23-cv-01710-AMO Document 183 Filed 06/30/23 Page 56 of 56


1          Dated: June 30, 2023                  Respectfully submitted,

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     PLAINTIFF’S PRE-HEARING PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
     CASE NO. 3:23-CV-01710-AMO                                                        51
